                                              No. 25-1619

                                                         IN THE

   United States Court of Appeals for the Eighth Circuit
                                  _____________________________________________________________




                     NOVARTIS PHARMACEUTICALS CORPORATION,
                                                                         Plaintiff-Appellant,
                                                              v.
  ANDREW BAILEY, in his official capacity as Attorney General of the State of Missouri;
JAMES L. GRAY, in his official capacity as President of the Missouri Board of Pharmacy;
CHRISTIAN S. TADRUS, in his official capacity as Vice President of the Missouri Board of
Pharmacy; DOUGLAS R. LANG, in his official capacity as a member of the Missouri Board
 of Pharmacy; COLBY GROVE, in his official capacity as a member of the Missouri Board
  of Pharmacy; ANITA K. PARRAN, in her official capacity as a member of the Missouri
   Board of Pharmacy; TAMMY THOMPSON, in her official capacity as a member of the
 Missouri Board of Pharmacy; and DARREN HARRIS, in his official capacity as a member
                         of the Missouri Board of Pharmacy,
                                                          Defendants-Appellees,
                                                     —and—
    MISSOURI HOSPITAL ASSOCIATION and MISSOURI PRIMARY CARE ASSOCIATION,
                                                                         Intervenors-Appellees.
                                     _____________________________________________________




     On Appeal from the United States District Court for the Western District of Missouri
                                   2:24-cv-04131-MDH
                           The Honorable M. Douglas Harpool
                                     _____________________________________________________




  PLAINTIFF-APPELLANT NOVARTIS PHARMACEUTICALS CORPORATION’S
                         OPENING BRIEF
                          ______________
                                                                 JESSICA L. ELLSWORTH
                                                                 SUSAN M. COOK
                                                                 MATTHEW J. HIGGINS
                                                                 SAM H. ZWINGLI
                                                                 HOGAN LOVELLS US LLP
                                                                 555 Thirteenth Street, N.W.
                                                                 Washington, DC 20004
                                                                 (202) 637-5600
                                                                 jessica.ellsworth@hoganlovells.com

May 15, 2025                                                     Counsel for Plaintiff-Appellant




   Appellate Case: 25-1619       Page: 1                     Date Filed: 05/15/2025 Entry ID: 5517164
                            SUMMARY OF THE CASE

      After Missouri enacted S.B. 751, Novartis Pharmaceuticals Corporation filed

suit and sought a preliminary injunction to enjoin the law, arguing that it violates

both the Dormant Commerce Clause and the Supremacy Clause. The District Court

denied Novartis’s motion for a preliminary injunction, and this appeal followed.

      S.B. 751 dramatically expands the scope of a federal program (known as the

340B Drug Pricing Program) that requires drug manufacturers, like Novartis, who

wish to participate in Medicare and Medicaid to sell their drugs at steeply

discounted prices to a specified list of hospitals and clinics known as “covered

entities.” In doing so, S.B. 751 sets the price that out-of-state drug manufacturers

may charge out-of-state wholesalers for drugs that are later dispensed in Missouri.

      In seeking a preliminary injunction, Novartis articulated three independent

ways that S.B. 751 violated the Dormant Commerce Clause and three independent

ways that S.B. 751 is preempted under the federal 340B statute. The District Court

ruled that Novartis was unlikely to prevail on the merits of these claims and denied

Novartis’s motion for a preliminary injunction. Because Novartis believes that the

statute violates these provisions, it respectfully appeals to this Court.

      Novartis respectfully requests 15 minutes of argument time given the

numerous constitutional and statutory issues presented.




                                            i

   Appellate Case: 25-1619     Page: 2     Date Filed: 05/15/2025 Entry ID: 5517164
                CORPORATE DISCLOSURE STATEMENT

      Novartis Pharmaceuticals Corporation is a wholly-owned indirect subsidiary

of Novartis AG, a multinational pharmaceutical corporation incorporated and

headquartered in Switzerland. Novartis AG publicly trades on the New York Stock

Exchange. No person or entity has a 10% or greater ownership interest in Novartis

AG’s outstanding stock.




                                       ii

   Appellate Case: 25-1619   Page: 3   Date Filed: 05/15/2025 Entry ID: 5517164
                                        TABLE OF CONTENTS

                                                                                                                 Page

SUMMARY OF THE CASE ......................................................................................i

CORPORATE DISCLOSURE STATEMENT ........................................................ ii

TABLE OF AUTHORITIES ....................................................................................iv

INTRODUCTION ..................................................................................................... 1

JURISDICTIONAL STATEMENT .......................................................................... 6

STATEMENT OF ISSUES ....................................................................................... 7

STATEMENT OF THE CASE .................................................................................. 8

         A. Legal And Factual Background .................................................................. 8

                1. Federal 340B Program And The Emergence Of
                   Contract Pharmacies .......................................................................... 8

                2. Manufacturers Sue To Enforce The 340B Statute ............................ 16

                3. Recent State Laws Concerning “Delivery” Of 340B
                   Drugs And This Court’s Decision In McClain ................................. 18

                4. Missouri Enacts S.B. 751 .................................................................. 20

         B. Procedural History .................................................................................... 22

STANDARD OF REVIEW ..................................................................................... 24

SUMMARY OF THE ARGUMENT ...................................................................... 25

ARGUMENT ........................................................................................................... 28

    I. THE DISTRICT COURT ERRED IN RULING THAT
       NOVARTIS IS UNLIKELY TO SUCCEED ON THE MERITS ................ 28

         A. Novartis Is Likely To Prevail On Its Dormant Commerce
            Clause Claim............................................................................................. 28

             1. S.B. 751 Regulates Drug Prices .......................................................... 28
                                                          iii

    Appellate Case: 25-1619               Page: 4         Date Filed: 05/15/2025 Entry ID: 5517164
                               TABLE OF CONTENTS—Continued

                                                                                                                     Page

             2. S.B. 751 Likely Violates The Dormant Commerce Clause In
                Three Independent Ways ..................................................................... 33

                  i. S.B. 751 unlawfully regulates wholly out-of-state
                     transactions ..................................................................................... 33

                  ii. S.B. 751 discriminates against out-of-state economic
                      interests........................................................................................... 40

                  iii. S.B. 751 fails the Pike balancing test............................................. 43

         B. Novartis Is Likely To Prevail On Its Claim That S.B. 751
            Conflicts With The Federal 340B Statute, And McClain Does
            Not Hold Otherwise .................................................................................. 48

         C. Novartis Preserves An Argument That McClain Was Wrongly
            Decided ..................................................................................................... 52

             1. McClain’s Field Preemption Holding Conflicts With
                Supreme Court Case Law .................................................................... 52

             2. McClain’s Enforcement Preemption Holding Conflicts With
                Supreme Court Case Law .................................................................... 53

    II. THE DISTRICT COURT ERRED IN RULING THAT
        NOVARTIS FAILED TO SATISFY THE REMAINING
        PRELIMINARY INJUNCTION FACTORS ................................................ 56

         A. Novartis Has Established Irreparable Harm ............................................. 56

         B. The Balance Of The Equities And Public Interest Favor
            Granting An Injunction............................................................................. 58

CONCLUSION ........................................................................................................ 59

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF SERVICE

ADDENDUM
                                                            iv

    Appellate Case: 25-1619                Page: 5          Date Filed: 05/15/2025 Entry ID: 5517164
                                     TABLE OF AUTHORITIES

CASES:

Abbott v. Perez,
  585 U.S. 579 (2018) ........................................................................................8, 58

Altana Pharma AG v. Teva Pharms. USA, Inc.,
   566 F.3d 999 (Fed. Cir. 2009) ............................................................................ 57

American Ins. Ass’n v. Garamendi,
  539 U.S. 396 (2003) ............................................................................................ 53

Arizona v. United States,
   567 U.S. 387 (2010) ............................................................................................ 53

Association for Accessible Meds. v. Ellison,
   704 F. Supp. 3d. 947 (D. Minn. 2023)....................................................35, 37, 39

Association for Accessible Medicines v. Frosh,
   887 F.3d 664 (4th Cir. 2018) ............................................................36, 38, 41, 44

Astra USA, Inc. v. Santa Clara Cnty.,
   563 U.S. 110 (2011) ............................................................................8, 53, 54, 55

Bacchus Imports, Ltd. v. Dias,
  468 U.S. 263 (1984) ............................................................................................ 41

Bank One, Utah v. Guttau,
  190 F.3d 844 (8th Cir. 1999) .............................................................................. 59

Boyle v. United Techs. Corp.,
  487 U.S. 500 (1988) ............................................................................................ 53

Buckman Co. v. Plaintiffs’ Legal Comm.,
  531 U.S. 341 (2001) ........................................................................................8, 53

C&A Carbone, Inc. v. Town of Clarkstown,
  511 U.S. 383 (1994) ..............................................................................5, 7, 27, 45

Chicago, B. & Q. R. Co. v. Chicago Great W. R. Co.,
  190 F.2d 361 (8th Cir. 1951) .............................................................................. 58


                                                          v

    Appellate Case: 25-1619               Page: 6        Date Filed: 05/15/2025 Entry ID: 5517164
                           TABLE OF AUTHORITIES—Continued

                                                                                                           Page(s)

City of Philadelphia v. New Jersey,
   437 U.S. 617 (1978) ............................................................................................ 38

Clover-Green Spring Dairies Inc. v. Pennsylvania Milk Marketing Bd.,
   298 F.3d 201 (3d Cir. 2002) ............................................................................... 47

Crosby v. National Foreign Trade Council,
  530 U.S. 363 (2000) ............................................................................................ 50

CTS Corp. v. Dynamics Corp. of America,
  481 U.S. 69 (1987) .............................................................................................. 44

Dakotans for Health v. Noem,
  52 F.4th 381 (8th Cir. 2022) ............................................................................... 59

Dataphase Sys., Inc. v. CL Sys., Inc.,
  640 F.2d 109 (8th Cir. 1981) ........................................................................28, 58

Department of Revenue of Ky. v. Davis,
  553 U.S. 328 (2008) ......................................................................................41, 42

Downs v. Holder,
  758 F.3d 994 (8th Cir. 2014) .............................................................................. 32

Edgar v. MITE Corp.,
  457 U.S. 624 (1982) ............................................................................................ 34

English v. General Elec. Co.,
  496 U.S. 72 (1990) .............................................................................................. 52

Fidelity Fed. Sav. & Loan Ass’n v. de la Cuesta,
   458 U.S. 141 (1982) ......................................................................................49, 51

Fulton Corp. v. Faulkner,
   516 U.S. 325 (1996) ............................................................................................ 45

Geier v. American Honda Motor Co.,
  529 U.S. 861 (2000) ........................................................................................8, 50


                                                         vi

    Appellate Case: 25-1619               Page: 7        Date Filed: 05/15/2025 Entry ID: 5517164
                           TABLE OF AUTHORITIES—Continued

                                                                                                            Page(s)

General Motors Corp. v. Tracy,
  519 U.S. 278 (1997) ......................................................................................42, 43

General Motors Corp. v. Harry Brown’s, LLC,
  563 F.3d 312 (8th Cir. 2009) .............................................................................. 56

GLBT Youth in Iowa Task Force v. Reynolds,
  114 F.4th 660 (8th Cir. 2024) ............................................................................. 25

Guy v. Baltimore,
  100 U.S. 434 (1880) ............................................................................................ 41

Healthcare Distrib. All. v. Zucker,
  353 F. Supp. 3d 235 (S.D.N.Y. 2018) ................................................................ 37

Healy v. Beer Inst., Inc.,
  491 U.S. 324 (1989) ....................................................................26, 33, 38, 43, 44

Heartland Acad. Cmty. Church v. Waddle,
  335 F.3d 684 (8th Cir. 2003) .............................................................................. 25

Hines v. Davidowitz,
   312 U.S. 52 (1941) .............................................................................................. 53

Iowa Utilities Bd. v. F.C.C.,
   109 F.3d 418 (8th Cir. 1996) ..........................................................................8, 56

Interlink Prods. Int’l, Inc. v. Crowfoot,
   678 F. Supp. 3d 1216 (E.D. Cal. 2023) .............................................................. 39

Kassel v. Consolidated Freightways Corp. of Del.,
  450 U.S. 662 (1981) ............................................................................................ 47

Lankford v. Sherman,
  451 F.3d 496 (8th Cir. 2006) .............................................................................. 25

Legato Vapors, LLC v. Cook,
   847 F.3d 825 (7th Cir. 2017) .............................................................................. 34


                                                         vii

    Appellate Case: 25-1619               Page: 8         Date Filed: 05/15/2025 Entry ID: 5517164
                           TABLE OF AUTHORITIES—Continued

                                                                                                          Page(s)

Medicine Shoppe Intern., Inc. v. S.B.S. Pill Dr., Inc.,
  336 F.3d 801 (8th Cir. 2003) .............................................................................. 58

Medtronic, Inc. v. Lohr,
  518 U.S. 470 (1996) ............................................................................................ 50

Minnesota v. Clover Leaf Creamery Co.,
  449 U.S. 456 (1981) ............................................................................................ 47

Morales v. Trans World Airlines, Inc.,
  504 U.S. 374 (1992) ............................................................................................ 57

National Pork Producers Council v. Ross,
  598 U.S. 356 (2023) ................................................................................37, 38, 43

National Pork Producers Council v. Ross,
  6 F.4th 1021 (9th Cir. 2019) ............................................................................... 39

Novartis Pharms. Corp. v. Espinosa,
  No. 21-cv-1479-DLF, 2021 WL 5161783 (D.D.C. Nov. 5, 2021)..................... 17

Novartis Pharms. Corp. v. Johnson,
  102 F.4th 452 (D.C. Cir. 2024) ....................................................................passim

Oklahoma Tax Comm’n v. Jefferson Lines, Inc.,
  514 U.S. 175 (1995) ............................................................................................ 33

Oregon Waste Sys., Inc. v. Department of Env’t Quality of State of Or.,
  511 U.S. 93 (1994) ..........................................................................................5, 40

PhRMA v. District of Columbia,
  406 F. Supp. 2d 56 (D.D.C. 2005) ...................................................................... 37

PhRMA v. McClain,
  95 F.4th 1136 (8th Cir. 2024) ......................................................................passim

PhRMA v. Morrisey,
  760 F. Supp.3d 439, (S.D. W. Va. Dec. 17, 2024) .......................................32, 54


                                                        viii

    Appellate Case: 25-1619              Page: 9         Date Filed: 05/15/2025 Entry ID: 5517164
                            TABLE OF AUTHORITIES—Continued

                                                                                                                Page(s)

PhRMA v. Walsh,
  538 U.S. 644 (2003) ............................................................................................ 38

Pike v. Bruce Church, Inc.,
   397 U.S. 137 (1970) ..................................................................................5, 43, 45

Rodriguez v. United States,
  480 U.S. 522 (1987) ............................................................................................ 50

Sam Francis Found. v. Christies, Inc.,
  784 F.3d 1320 (9th Cir. 2015) ............................................................................ 39

Sanofi Aventis U.S. LLC v. United States Dep’t of Health & Human Servs.,
   58 F.4th 696 (3d Cir. 2023) .........................................................................passim

Styczinski v. Arnold,
   46 F.4th 907 (8th Cir. 2022) ........................................................................passim

Tennessee Wine & Spirits Retailers Ass’n v. Thomas,
   588 U.S. 504 (2019) ............................................................................................ 40

United Haulers Ass’n v. Oneida-Herkimer Solid Waste Mgmt. Auth.,
  550 U.S. 330 (2007) ..................................................................................7, 26, 41

United States v. Green,
  691 F.3d 960 (8th Cir. 2012) .............................................................................. 32

Wisconsin Dep’t of Indus., Lab. & Hum. Rels. v. Gould Inc.,
  475 U.S. 282 (1986) ............................................................................................ 54

STATUTES:

28 U.S.C. § 1331 ........................................................................................................ 6

28 U.S.C. § 1292(a)(1) .............................................................................................. 7

42 U.S.C. § 1396r-8(a)(1) .......................................................................................... 9

42 U.S.C. § 1396r-8(a)(1) .......................................................................................... 9


                                                            ix

   Appellate Case: 25-1619                 Page: 10         Date Filed: 05/15/2025 Entry ID: 5517164
                              TABLE OF AUTHORITIES—Continued

                                                                                                                       Page(s)

42 U.S.C. § 256b
   (a) .......................................................................................................................... 8
   (a)(1) ...................................................................................................9, 29, 46, 49
   (a)(2) ................................................................................................................... 11
   (a)(4) ..................................................................................................................... 9
   (a)(4)(L)(i)............................................................................................................. 9
   (a)(5)(A) .............................................................................................................. 10
   (a)(5)(B) .............................................................................................................. 10
   (b)(1) ..................................................................................................................... 9
   (d)(1)(A) .............................................................................................................. 52
   (d)(1)(B)(vi) ........................................................................................................ 10
   (d)(2)(B)(iv) ........................................................................................................ 53
   (d)(2)(B)(v)(I) ..................................................................................................... 10
   (d)(2)(B)(v)(II) .................................................................................................... 10
   (d)(3)(A) ........................................................................................................11, 56

H.B. 1056 (Md. 2024) .............................................................................................. 19

H.B. 728 (Miss. 2024).............................................................................................. 19

H.F. 4991 (Minn. 2024) ........................................................................................... 19

Kan. Stat. § 65-483 .................................................................................................. 19

La. Rev. Stat. § 40:2883........................................................................................... 19
   (A)(vi)(d)............................................................................................................. 44

Miss. Code § 75-24-5 ............................................................................................... 19

Mo. Rev. Stat. § 407.020 et seq. ........................................................................22, 57

Mo. Rev. Stat. § 407.020
  (3) ........................................................................................................................ 57
  (4) ........................................................................................................................ 57

Mo. Rev. Stat. § 407.025(1) ..................................................................................... 57

Mo. Rev. Stat. § 407.095 ......................................................................................... 22


                                                                x

    Appellate Case: 25-1619                  Page: 11           Date Filed: 05/15/2025 Entry ID: 5517164
                              TABLE OF AUTHORITIES—Continued

                                                                                                                      Page(s)

Mo. Rev. Stat. § 407.110 ......................................................................................... 22

Mo. Rev. Stat. § 407.130 ......................................................................................... 22

N.D. Cent. Code § 43-15.3-08 ................................................................................. 19

Neb. L.B. 168, § 3(1) (2025) .............................................................................19, 44

N.M. H.B. 78 (2025) ................................................................................................ 19
  § 1(A)(4) ............................................................................................................. 44

S.B. 154 (S.D. 2025) ................................................................................................ 19

S.B. 28 (Kan. 2024) ................................................................................................. 19

S.B. 69 (Utah 2025) ................................................................................................. 19

S.B. 751, Mo. Rev. Stat. § 376.414 ......................................................................... 57
   (1)(a) ................................................................................................................... 29
   (2) ........................................................................................................................ 21
   (3) ............................................................................................................22, 29, 57

S.B. 751, Mo. Rev. Stat. § 376.414.2 ................................................................34, 47

S.B. 1414 (Tenn. 2025) ........................................................................................... 19

W. Va. Code § 60A-8-6a ......................................................................................... 19

REGULATIONS:

340B Drug Pricing Program Ceiling Price and Manufacturer Civil Monetary
   Penalties Regulation, 82 Fed. Reg. 1210 (Jan. 5, 2017) ..................................... 11

42 C.F.R. Part 1003.................................................................................................. 10

61 Fed. Reg. 43,549 (Aug. 23, 1996) ...................................................................... 12

75 Fed. Reg. 10,272 (Mar. 5, 2010) ......................................................................... 13

Final Rule, 340B Drug Pricing Program; Administrative Dispute Resolution
   Regulation, 89 Fed. Reg. 28,643 (Apr. 19, 2024) .............................................. 11
                                                               xi

    Appellate Case: 25-1619                  Page: 12           Date Filed: 05/15/2025 Entry ID: 5517164
                            TABLE OF AUTHORITIES—Continued

                                                                                                                Page(s)

EXECUTIVE MATERIAL:

HHS OIG, Memorandum Report: Contract Pharmacy Arrangements in the 340B
  Program, OEI-05-13-00431 (Feb. 4, 2014) ........................................................ 14

OTHER AUTHORITIES:

Eleanor Blalock, Measuring the Relative Size of the 340B Program: 2020 Update
   (June 2022).......................................................................................................... 15

11A Charles A. Wright & Arthur R. Miller, Fed. Prac. & Proc. Civ. § 2949 (3d ed.
  2025 update)..................................................................................................46, 47

CVS Health Corp., Annual Report (SEC Form 10-K) (Feb. 8, 2023),
  https://bit.ly/3Sh3Dl1 .......................................................................................... 46

Adam J. Fein, The 340B Program Reached $54 Billion in 2022—Up 22% vs. 2021,
  Drug Channels (Sept. 24, 2023) ......................................................................... 16

Karen Mulligan, The 340B Drug Pricing Program: Background, Ongoing
  Challenges and Recent Developments (Oct. 14, 2021) ...................................... 15

Peter J. Pitts & Robert Popovian, 340B and the Warped Rhetoric of Healthcare
   Compassion, (FDLI Fall 2022) ........................................................................... 46

Walgreens Boots Alliance, Inc., Annual Report (SEC Form 10-K) (Oct. 13, 2022),
  http://bit.ly/3kflVXh ........................................................................................... 47




                                                           xii

   Appellate Case: 25-1619                 Page: 13         Date Filed: 05/15/2025 Entry ID: 5517164
                                INTRODUCTION

      The federal 340B Drug Pricing Program requires pharmaceutical

manufacturers to ensure that a specified list of hospitals and clinics known as

“covered entities” can buy the manufacturers’ drugs at a capped, steeply

discounted price. Manufacturers must participate in the 340B Program, and its

price controls, as a condition for having Medicare Part B and Medicaid pay for

their therapies. Importantly, the 340B Program governs only the price that covered

entities pay to purchase the drug; covered entities turn around and charge full price

to patients when the drug is dispensed. Simple math says that the more product a

covered entity can buy low and sell high, the more lucrative the 340B Program is

for that covered entity’s bottom line. The covered entities’ response to this

incentive structure—combined with a well-established lack of transparency—has

led to the current dispute.

      Certain categories of covered entities sometimes lack an in-house pharmacy

and therefore originally could not take advantage of 340B drug pricing.

Accordingly, in the early years of the 340B Program, the Health Resources and

Services Administration (HRSA) of the Department of Health and Human

Services, which administers the 340B Program, issued guidance allowing such

covered entities to contract with a single third-party pharmacy for this purpose.

The separate pharmacy—known as a “contract pharmacy”—would dispense drugs

                                          1

  Appellate Case: 25-1619     Page: 14    Date Filed: 05/15/2025 Entry ID: 5517164
to the covered entity’s patients as though the drug had been dispensed in-house by

the covered entity itself.

      The lucrative nature of this program led covered entities to lobby HRSA for

expansion of contract pharmacy use. HRSA acceded and issued guidance

purporting to authorize any covered entity (even those with an in-house pharmacy)

to designate an unlimited number of contract pharmacies, rather than just one.

Again, because these discounts are generally not passed along to patients, this

funding stream simply became a new way for covered entities to increase profits.

      As a result, the 340B Program ballooned over the ensuing years to cover $54

billion in discounted drug sales. Covered entities, seeking to maximize these

profits, hired for-profit third-party administrators to cull through the claims data of

the thousands of contract pharmacies after the fact to identify whether any of the

patients may have some purported connection, however tenuous, to a covered

entity. The algorithm used is deliberately opaque and many of the newly claimed

discounts—which manufacturers cannot verify—violate the diversion and

duplicate-discount obligations that the statute imposes on covered entities.

Covered entities then claim retroactive rebates for these prescriptions. The

covered entities, contract pharmacies—which are largely major for-profit chains

such as Walmart and CVS—and the third-party administrators then divvy up the

spread (the money Congress intended to help vulnerable patients) between them.

                                           2

  Appellate Case: 25-1619     Page: 15     Date Filed: 05/15/2025 Entry ID: 5517164
      Manufacturers challenged this radical expansion of the 340B Program.

Several courts, including one in a case that Novartis brought, ruled that the federal

340B law permits manufacturers to put reasonable guardrails in place to protect

against these abusive practices, including by recognizing only a single contract

pharmacy per covered entity lacking an in-house pharmacy—which was the

common pre-2010 practice. See Novartis Pharms. Corp. v. Johnson, 102 F.4th

452, 460 (D.C. Cir. 2024); see also Sanofi Aventis U.S. LLC v. United States Dep’t

of Health & Human Servs., 58 F.4th 696, 705 (3d Cir. 2023).

      Missouri is one of several states that then enacted a state law to expand the

volume of drugs that receive the discounted 340B price and circumvent the

reasonable limitations on the use of contract pharmacies that Congress allowed in

enacting the federal program. Senate Bill No. 751 (“S.B. 751”) makes it unlawful

for a drug manufacturer to directly or indirectly restrict the delivery or acquisition

of a “340B drug” by any contract pharmacies that a Missouri covered entity

designates.

      While the State claims that the statute regulates only drug delivery, make no

mistake: S.B. 751 is a drug-pricing statute. The District Court focused on the

word “delivery” in S.B. 751, but the statute has no impact on whether or how a

drug is delivered in Missouri. The same drugs at issue were already being

delivered to the very same pharmacies at issue before the statute. It is actually

                                           3

  Appellate Case: 25-1619     Page: 16     Date Filed: 05/15/2025 Entry ID: 5517164
undisputed that S.B. 751 does not affect the quality or quantity of drugs delivered

to Missouri covered entities and their contract pharmacies, how those drugs are

delivered, or to where they are delivered. The key term instead is “340B drug,”

which is the object of the new law’s obligations. S.B. 751 defines that term to

mean a unit of drug subject to the 340B price, thereby requiring only the extension

of 340B pricing to the same drugs already being sold and delivered to those same

pharmacies in state.

      S.B. 751’s pricing regulation also applies solely to drug manufacturers,

which operate almost entirely outside of Missouri. This is critical context for

Novartis’s Dormant Commerce Clause challenge. S.B. 751 triggers a chain of

reimbursement requests that ultimately require an out-of-state drug manufacturer to

reimburse an out-of-state wholesaler for the 340B discount that the new law now

mandates be made available to an unlimited range of pharmacies in Missouri. To

comply with S.B. 751, the manufacturer must now require that its wholesalers

charge no more than the 340B price when shipping an order to a contract

pharmacy. The wholesaler, which purchased the product from the manufacturer at

a commercial price, needs to be made whole for fronting that 340B discount. The

result: S.B. 751 requires a direct cash transfer, or subsidy, from (almost-entirely)

out-of-state drug manufacturers to an (entirely) in-state group of hospitals and

clinics and their third-party pharmacy partners.

                                          4

  Appellate Case: 25-1619     Page: 17    Date Filed: 05/15/2025 Entry ID: 5517164
      This inter-state dynamic violates the Dormant Commerce Clause in three

independent ways. First, it regulates the price that out-of-state drug manufacturers

may charge out-of-state wholesalers in an entirely out-of-state transaction—

violating one of the Dormant Commerce Clause’s core pillars. Styczinski v.

Arnold, 46 F.4th 907, 913 (8th Cir. 2022). Second, S.B. 751 discriminates against

“out-of-State economic interests” by requiring the out-of-state drug industry to

finance in-state hospitals and clinics. Oregon Waste Sys., Inc. v. Department of

Env’t Quality of State of Or., 511 U.S. 93, 99 (1994). And third, it creates massive

“incidental burdens” on interstate commerce by imposing millions of dollars of

discounts on drug manufacturers on out-of-state sales simply because their drugs

later cross Missouri state lines and are sold to a Missouri covered entity’s contract

pharmacy. Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970). Those costs

clearly outweigh the local benefit, which is simply to “financ[e]” local industry—

an illegitimate interest under the Dormant Commerce Clause. C&A Carbone, Inc.

v. Town of Clarkstown, 511 U.S. 383, 394 (1994).

      S.B. 751 also is preempted under the federal 340B statute, which

intentionally preserves the right of drug manufacturers to limit delivery of 340B

drugs to a single contract pharmacy. See Novartis, 102 F.4th at 454. S.B. 751

erects an obstacle to the federal law by giving covered entities the right to




                                          5

  Appellate Case: 25-1619     Page: 18     Date Filed: 05/15/2025 Entry ID: 5517164
designate unlimited numbers of contract pharmacies to receive delivery of 340B

drugs.

         The District Court believed PhRMA v. McClain, 95 F.4th 1136 (8th Cir.

2024) likely foreclosed Novartis’s obstacle-preemption claim. But McClain never

considered this theory, nor ruled on its merit. McClain held that the federal 340B

law did not prohibit covered entities from using any contract pharmacies. 95 F.4th

at 1144. Novartis’s obstacle-preemption theory, by contrast, is that the federal law

gives manufacturers the right to place reasonable guardrails around the use of

contract pharmacies, including restricting delivery to a single contract pharmacy.

That theory is both outside McClain and meritorious.

         A preliminary injunction should have issued. Novartis has a likelihood of

success on its Dormant Commerce Clause and preemption claims; it faces

irreparable harm absent a preliminary injunction; and the balance of the equities

and public interest both weigh in favor of granting Novartis’s requested relief.

This Court should reverse the District Court’s denial of Novartis’s request for a

preliminary injunction and order the District Court to enter it on remand.

                         JURISDICTIONAL STATEMENT

          The District Court had federal question jurisdiction over this case under 28

U.S.C. Section 1331 and entered a final order denying Novartis’s motion for a

preliminary injunction on February 24, 2025. App.316-329(R._Doc._78).

                                           6

  Appellate Case: 25-1619      Page: 19     Date Filed: 05/15/2025 Entry ID: 5517164
Novartis filed a notice of appeal thirty days later, on March 26, 2025. App.330-

333(R._Doc._84). This Court has appellate jurisdiction under 28 U.S.C. Section

1292(a)(1).

                            STATEMENT OF ISSUES

      1.      Whether the District Court erred in concluding that Novartis was

unlikely to succeed on its Dormant Commerce Clause claim, even though S.B. 751

regulates wholly out-of-state transactions; discriminates against out-of-state

economic interests; and imposes burdens on interstate commerce that clearly

outweigh local benefits.

              Most Apposite Cases: United Haulers Ass’n v. Oneida-Herkimer

              Solid Waste Mgmt. Auth., 550 U.S. 330 (2007); C&A Carbone, Inc. v.

              Town of Clarkstown, 511 U.S. 383 (1994); Styczinski v. Arnold, 46

              F.4th 907 (8th Cir. 2022).

      2.      Whether the District Court erred in concluding that Novartis was

unlikely to succeed on its obstacle-preemption theory, even though S.B. 751 gives

Missouri hospitals and clinics the right to designate unlimited contract pharmacies,

while the federal 340B carefully balances the interests of covered entities and

manufacturers to preserve manufacturers’ right to limit delivery to a single contract

pharmacy.




                                           7

  Appellate Case: 25-1619     Page: 20     Date Filed: 05/15/2025 Entry ID: 5517164
            Most Apposite Case: Geier v. American Honda Motor Co., 529 U.S.

            861 (2000).

      3.    Whether this Court, sitting en banc, should find preemption based on

the preemption theories addressed in Pharmaceutical Research & Manufacturers

of America v. McClain, 95 F.4th 1136 (8th Cir. 2024) and conclude that panel’s

decision was contrary to Supreme Court case law.

            Most Apposite Cases: Astra USA, Inc. v. Santa Clara Cnty., 563 U.S.

            110 (2011); Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341

            (2001).

      4.    Whether the District Court incorrectly ruled that the remaining

preliminary injunction factors—irreparable harm, balance of the equities, and

public interest—weigh against a preliminary injunction.

            Most Apposite Cases: Abbott v. Perez, 585 U.S. 579 (2018); Iowa

            Utilities Bd. v. F.C.C., 109 F.3d 418 (8th Cir. 1996).

                          STATEMENT OF THE CASE

      A.    Legal And Factual Background.

            1. Federal 340B Program And The Emergence Of Contract
               Pharmacies.

      In 1992, Congress created the 340B Drug Pricing Program, which requires

participating pharmaceutical manufacturers like Novartis to deeply discount their

covered outpatient drugs for qualifying hospitals and clinics. 42 U.S.C. § 256b(a);

                                         8

  Appellate Case: 25-1619    Page: 21    Date Filed: 05/15/2025 Entry ID: 5517164
App.8-9(R._Doc._1, at 8-9 ¶ 27). Federal law defines qualifying hospitals and

clinics, known as “covered entities,” as 15 specified types of nonprofit hospitals

and federal grantees. See 42 U.S.C. § 256b(a)(4); App.9(R._Doc._1, at 9 ¶ 31). A

manufacturer must agree to participate in the 340B Program to receive payment

under Medicaid and Medicare Part B for its drugs. 42 U.S.C. § 1396r-8(a)(1). The

subagency responsible for overseeing and enforcing the 340B Program is the

Health Resources and Services Administration (HRSA).

      At its core, the 340B Program requires a participating pharmaceutical

manufacturer to ensure a covered entity is ultimately charged no more than the

340B ceiling price—a heavily discounted price calculated under a prescribed

statutory formula—for each unit of the manufacturer’s covered outpatient drugs

dispensed by the covered entity. 42 U.S.C. §§ 256b(a)(1), (a)(4), (b)(1).

Specifically, Section 256b(a)(1) states that a participating manufacturer shall “offer

each covered entity covered outpatient drugs for purchase at or below the

applicable ceiling price if such drug is made available to any other purchaser at any

price.” Notably, whether the 340B discount applies is dependent on the hospital or

clinic’s status as a covered entity, not the economic status of the individual patient

receiving the drug. So, for example, if a hospital qualifies as a “covered entity” by

virtue of serving “low income individuals,” 42 U.S.C. § 256b(a)(4)(L)(i), the 340B




                                           9

  Appellate Case: 25-1619     Page: 22     Date Filed: 05/15/2025 Entry ID: 5517164
discount would equally apply to drugs the hospital dispenses to its high-income

patients.

      Congress carefully calibrated the program to protect drug manufacturers,

given the size of the mandatory price reductions being imposed. First, the statute

prohibits “duplicate discounts”—a manufacturer cannot be required to both pay a

Medicaid rebate and provide a 340B discount on the same unit of drug. 42 U.S.C.

§ 256b(a)(5)(A). Second, the statute prohibits what is known as “diversion”; 340B

drugs may not be resold or otherwise transferred to “a person who is not a patient

of the entity.” Id. § 256b(a)(5)(B).

      The federal 340B statute also lays out two exclusive enforcement remedies.

App.11-12(R._Doc._1, at 11-12 ¶ 37). First, the Department of Health and Human

Services (HHS) is given direct enforcement powers, including the ability to

mandate payment of the discount, seek civil fines for non-compliance, and kick

covered entities out of the program. 42 U.S.C. §§ 256b(d)(1)(B)(vi),

(d)(2)(B)(v)(I)-(II); see also 42 C.F.R. Part 1003 (rules governing Secretary’s

imposition of civil monetary penalties). And second, the statute requires the HHS

Secretary to promulgate regulations establishing an Administrative Dispute

Resolution (ADR) process, allowing covered entities and manufacturers to resolve

340B disputes arising under two claim categories: (1) “claims by covered entities

that they have been overcharged for drugs purchased under this section,” and (2)

                                         10

  Appellate Case: 25-1619     Page: 23    Date Filed: 05/15/2025 Entry ID: 5517164
claims by manufacturers relating to duplicate discounts and drug diversion. 42

U.S.C. § 256b(d)(3)(A); Final Rule, 340B Drug Pricing Program; Administrative

Dispute Resolution Regulation, 89 Fed. Reg. 28,643 (Apr. 19, 2024); see also

App.12(R._Doc._1, at 12 ¶ 38).

      Critically, covered entities are not required to pass any portion of the 340B

discount to patients and they generally do not. App.11, 13-14(R._Doc._1, at 11,

13-14 ¶¶ 35, 44). Nor are they even required to use the funds to provide charity

care or otherwise benefit low-income patients. As a result, covered entities can

charge patients (or their insurers) the same amount they otherwise would

regardless of whether the covered entity received a 340B discount on the drug at

issue. App.11(R._Doc._1, at 11 ¶ 35). That means covered entities are legally

permitted to—and generally do—pocket the 340B discounts or use them to invest

in unrelated facilities that serve high-income populations. App.13-14(R._Doc._1,

at 13-14 ¶ 44).

      The financial benefits to covered entities are massive. The 340B price that a

manufacturer may charge for a drug is steeply discounted—“as low as one

penny—calculated under a prescribed statutory formula.” App.9(R._Doc._1, at 9

¶ 30) (quoting 340B Drug Pricing Program Ceiling Price and Manufacturer Civil

Monetary Penalties Regulation, 82 Fed. Reg. 1210, 1214-15 (Jan. 5, 2017)); 42

U.S.C. § 256b(a)(2)); Novartis Pharms. Corp. v. Johnson, 102 F.4th 452, 456

                                         11

  Appellate Case: 25-1619    Page: 24    Date Filed: 05/15/2025 Entry ID: 5517164
(D.C. Cir. 2024) (the 340B discounted price is “strikingly generous to

purchasers”). Meanwhile, the “insurance reimbursement rate” that covered entities

receive when dispensing a 340B drug is calculated based on the drug’s non-

discounted price. App.10-11(R._Doc._1, at 10-11 ¶ 34). As a hypothetical, a

covered entity may receive an insurance reimbursement of $50 for dispensing a

given drug to a patient. That rate is calculated based on the non-discounted

commercial price of the drug. If that drug is tagged for inclusion in the 340B

Program, the hospital may pay as low as $0.01 for it, leaving the covered entity

with an extra $49.99 to spend however it chooses.

      Covered entities thus have a huge incentive to claim as many 340B drugs as

possible. App.10-11(R._Doc._1, at 10-11 ¶ 34). This dynamic has made “the

section 340B Program vulnerable to abuse—at great cost to [drug] manufacturers.”

App.11(R._Doc._1, at 11 ¶ 36) (citing Novartis, 102 F.4th at 455).

      That’s where “contract pharmacies” come in. When the 340B Program was

first enacted, covered entities—which were much fewer in number—directly

purchased drugs at the 340B price, dispensed those drugs at their own in-house

pharmacies, and enjoyed savings from the discount. App.12(R._Doc._1, at 12

¶ 41). In 1996, HRSA issued guidance announcing that the agency would not

preclude covered entities lacking an in-house pharmacy from entering into a single

contract-pharmacy relationship. Id. (citing 61 Fed. Reg. 43,549 (Aug. 23, 1996));

                                        12

  Appellate Case: 25-1619    Page: 25    Date Filed: 05/15/2025 Entry ID: 5517164
see also Sanofi Aventis U.S. LLC v. United States Dep’t of Health & Human Servs.,

58 F.4th 696, 705 (3d Cir. 2023) (“Congress might have expected that a covered

entity without its own in-house pharmacy could instead use one contract

pharmacy.”).

      In 2010, HRSA heeded the calls from the covered-entity lobby to expand

contract-pharmacy access. Its revised guidance stated that covered entities could

use “multiple pharmacy arrangements”—with no cap on the number of contract

pharmacies or their physical locations, and even if the covered entity had its own

in-house pharmacy. App.12-13(R._Doc._1, at 12-13 ¶ 42) (citing 75 Fed. Reg.

10,272, 10,273 (Mar. 5, 2010)). If a covered entity satisfied a few conditions, all

monitored by the covered entity itself on the honor system, it could enter into

limitless contract-pharmacy arrangements with pharmacies located across the

United States. 75 Fed. Reg. 10,272, 10,274, 10,277 (outlining these requirements).

      Seeing this potential for a massive windfall, individual covered entities

began entering into “multiple pharmacy arrangements,” without regard to

geographic proximity to the hospital or even whether the hospital already had an

in-house pharmacy. App.12-13(R._Doc._1, at 12-13 ¶ 42). Over the ensuing

years, the number of contract pharmacies receiving and distributing 340B drugs

grew rapidly. App.13(R._Doc._1, at 13 ¶ 43) (citing government reports about the

dramatic increase in use—and abuse—of 340B discounts through covered entities’

                                         13

  Appellate Case: 25-1619    Page: 26     Date Filed: 05/15/2025 Entry ID: 5517164
contract pharmacy relationships). The more contract pharmacies a covered entity

designates, the more chances the covered entity can claim to be owed a 340B

discounted price.

      To supercharge their 340B savings, covered entities hired for-profit third-

party administrators to implement what they call the “replenishment model.”

App.10(R._Doc._1, at 10 ¶ 33). In this model, third-party administrators cull

through pharmacy claims data—i.e., data for commercially priced drugs that have

already been dispensed—to identify whether any of those individuals may have

some purported connection, however tenuous, to a covered entity. Id. Anytime the

third-party administrator flags that a pharmacy customer was (or may have been) a

patient at the covered entity at some prior point in time, the covered entity places

an order for a 340B priced unit to be delivered to the pharmacy to “replenish” the

commercially priced unit previously dispensed to that customer. The new unit is

then dispensed to the next pharmacy customer that walks in the door. Id. The

pharmacy treats the 340B replenishment unit as if it had been purchased at the

commercial price—and is available for dispensing to anyone, regardless of whether

they qualify as a “patient” of the covered entity—even though it has in fact been

purchased at the 340B price. Id. (citing Novartis, 102 F.4th at 461-463; HHS OIG,

Memorandum Report: Contract Pharmacy Arrangements in the 340B Program,

OEI-05-13-00431 at 5 (Feb. 4, 2014)).

                                          14

  Appellate Case: 25-1619     Page: 27    Date Filed: 05/15/2025 Entry ID: 5517164
      How a third-party administrator determines the number of 340B drugs to

replenish—and whether or not those drugs actually tie back to a patient of the

covered entity—remains a mystery. Id. The contracts that covered entities enter

into with third-party administrators are not publicly available.

      What is widely known is that third-party administrators often receive a per-

drug fee and are thus highly motivated to identify as many drugs as possible for

“replenishment” at the 340B discounted price. App.10-11(R._Doc._1, at 10-11

¶ 34) (citing Novartis, 102 F.4th at 454). Each player gets a cut: “The covered

entity, the pharmacy, and the third-party administrator often divvy up the spread

between the discounted price and the higher insurance reimbursement rate.” Id.

      As a result of these lucrative arrangements, manufacturers have faced

skyrocketing sales of drugs for which covered entities demand the steeply

discounted 340B pricing, with little to no transparency as to whether these requests

are legitimate 340B prescriptions. By 2020, sales of 340B units constituted an

estimated 17% of all total U.S. branded outpatient drug sales. App.13-

14(R._Doc._1, at 13-14 ¶ 44) (citing Karen Mulligan, The 340B Drug Pricing

Program: Background, Ongoing Challenges and Recent Developments (Oct. 14,

2021); Eleanor Blalock, Measuring the Relative Size of the 340B Program: 2020

Update (June 2022). And in 2022, discounted purchases under the 340B Program

hit a record high of approximately $54 billion—a more than 22% year-over-year

                                         15

  Appellate Case: 25-1619     Page: 28    Date Filed: 05/15/2025 Entry ID: 5517164
increase. Id. (citing Adam J. Fein, The 340B Program Reached $54 Billion in

2022—Up 22% vs. 2021, Drug Channels (Sept. 24, 2023)).

             2. Manufacturers Sue To Enforce The 340B Statute.

      The number of contract pharmacies ballooned from 1,300 in 2010 to nearly

20,000 in 2017. App.13(R._Doc._1, at 13 ¶ 43). That dramatic growth became

unsustainable for drug manufacturers, who believed that contract pharmacies were

driving up duplicate discounting and diversion. See Sanofi, 58 F.4th at 700-701.

In November 2020, Novartis notified HRSA that it would recognize all contract

pharmacies within 40 miles of a covered entity—an area of more than 5,000 square

miles—and allow covered entities to seek exemptions based on individual

circumstances. App.14(R._Doc._1, at 14 ¶ 45). But, barring an exemption, it

would not offer 340B discounts for drugs that a covered entity’s patient bought

more than 40 miles away from the covered entity. Id. Novartis imposed this

(generous) geographic limitation in an attempt to make 340B pricing available only

for the drugs associated with treatment that a patient actually received at the

covered entity claiming the discount.

      HRSA saw things differently. In 2021, it issued Novartis an enforcement

letter, asserting that Novartis’s policy violated the federal 340B statute.

App.14(R._Doc._1, at 14 ¶ 46). HRSA demanded immediate compliance with its

view that a covered entity can unilaterally direct a manufacturer to deliver 340B

                                          16

  Appellate Case: 25-1619     Page: 29     Date Filed: 05/15/2025 Entry ID: 5517164
drugs to any contract pharmacy, on pain of an enforcement action for civil

monetary penalties under Section 256b(d)(1)(B)(vi). Id.

       Novartis challenged HRSA’s letter in the U.S. District Court for the

District of Columbia. App.14-15(R._Doc._1, at 14-15 ¶ 47). Novartis’s challenge

was heard alongside a separate case brought by United Therapeutics; HHS had

issued a similar enforcement letter prohibiting United Therapeutics’s policy of

delivering 340B drugs to only one contract pharmacy designated or previously

used by the covered entity—consistent with HRSA’s pre-2010 position. Id.; see

also Novartis, 102 F.4th at 452.

      The district court sided with Novartis and United Therapeutics and vacated

HRSA’s enforcement letters. Novartis Pharms. Corp. v. Espinosa, No. 21-cv-

1479-DLF, 2021 WL 5161783, at *8-9 (D.D.C. Nov. 5, 2021). HRSA appealed to

the D.C. Circuit, which affirmed. The D.C. Circuit held that in enacting the 340B

statute, Congress intended to provide drug manufacturers with the right to impose

at least some “delivery conditions” on 340B drugs. Novartis, 102 F.4th at 460.

For example, to ensure patient safety, manufacturers were entitled to limit the

distribution of certain “specialty,” or highly complex, 340B drugs to “specialized

pharmacies” trained to handle such drugs. Id. at 461. The court noted that, in

theory, some manufacturer-imposed delivery conditions may be unreasonable or

otherwise violate specific provisions of the 340B statute. Id. at 462-463. But, the

                                         17

  Appellate Case: 25-1619    Page: 30     Date Filed: 05/15/2025 Entry ID: 5517164
court held, a delivery condition restricting 340B drugs to only one contract

pharmacy designated by the covered entity was reasonable valid,1 and Congress

intentionally “preserve[d]” a drug manufacturer’s ability to impose it. Id. at 460,

463.

       The Third Circuit heard a parallel lawsuit brought by other drug

manufacturers and came to a similar conclusion. See Sanofi, 58 F.4th at 707. Like

the D.C. Circuit, the Third Circuit upheld orders vacating HRSA’s enforcement

letters against drug manufacturers that limited the delivery of 340B drugs to a

single contract pharmacy that the covered entity designates. Id. at 701-706. The

court held that the federal 340B statute intentionally provided “drug makers

discretion on delivery.” Id. at 705. As part of that discretion, the drug makers’

policies of limiting each covered entity to a single contract pharmacy were

authorized under Section 340B. Id. at 706.

             3. Recent State Laws Concerning “Delivery” Of 340B Drugs And This
                Court’s Decision In McClain.

       Responding to this litigation, several states wanted their in-state hospitals

and other covered entities to retain and maximize the lucrative benefit of 340B

pricing, App.29(R._Doc._1, at 29 ¶ 97), so they passed state laws requiring the



1
 Novartis had since discontinued its 40-mile condition in favor of a single-
contract-pharmacy delivery condition similar to United Therapeutics. See
Novartis, 102 F.4th at 463.
                                          18

    Appellate Case: 25-1619   Page: 31     Date Filed: 05/15/2025 Entry ID: 5517164
recognition of unlimited contract-pharmacy arrangements.2 These laws also do not

require any price discount be passed on to patients.

       One of these laws has already come before this Court. In May 2021, the

Arkansas General Assembly codified a right for a covered entity to have unlimited

contract-pharmacy arrangements by prohibiting drug manufacturers “from

interfering in a covered entity’s agreement with a contract pharmacy by denying

the pharmacy access to a covered entity’s 340B drugs.” PhRMA v. McClain, 95

F.4th 1136, 1143 (8th Cir. 2024). This Court rejected a preemption challenge to

the Arkansas law brought by the trade group Pharmaceutical Research and

Manufacturers of America (“PhRMA”). Id.

       PhRMA argued four preemption theories. The first was a field preemption

theory—namely that the federal 340B statute “preempts the field” on 340B drug

pricing, meaning that Congress left “no room for state action.” Id. This Court




2
 Currently, state laws ostensibly protecting the “delivery” of 340B drugs have
been enacted in: Kansas (S.B. 28 (2024), Kan. Stat. § 65-483); Louisiana (La. Rev.
Stat. § 40:2883); Nebraska (Neb. L.B. 168, § 3(1) (2025)); Mississippi (H.B. 728
(2024), Miss. Code § 75-24-5); Maryland (H.B. 1056 (2024)); Minnesota (H.F.
4991 (2024)); New Mexico (N.M. H.B. 78 (2025)); North Dakota (N.D. Cent.
Code § 43-15.3-08); South Dakota (S.B. 154 (2025)); Tennessee (S.B. 1414
(2025)); Utah (S.B. 69 (2025)); and West Virginia (W. Va. Code § 60A-8-6a).
                                         19

    Appellate Case: 25-1619   Page: 32    Date Filed: 05/15/2025 Entry ID: 5517164
disagreed, relying in part on the “presumption” that Congress does not preempt

state laws regarding health and safety. Id. at 1140, 1143-44.

      The second was that the federal 340B statute creates a “closed system”

whereby contract pharmacies are not eligible for 340B pricing at all because

contract pharmacies are not one of the statute’s 15 specifically-designated covered

entities. Id. at 1144. This Court rejected that as well, holding that dispensing by

contract pharmacies was not per se invalid under the federal 340B statute. Id.

      PhRMA next contended that the Arkansas statute “contravene[d] HHS’s

exclusive 340B jurisdiction” for oversight and enforcement of the federal 340B

statute. Id. And finally, PhRMA argued that the state law was “at odds with the

FDCA’s Risk Evaluation and Mitigation Strategies (‘REMS’) Program.” Id. at

1145. This Court rejected these preemption theories as well.

             4. Missouri Enacts S.B. 751.

      In May 2024, Missouri enacted S.B. 751, which like Arkansas’s law, gives

in-state hospitals and other covered entities the right to enter into unlimited

contract-pharmacy arrangements to obtain 340B pricing. S.B. 751 provides that a

manufacturer “shall not deny, restrict, or prohibit, either directly or indirectly, the

acquisition of a 340B drug by, or delivery of a 340B drug to, a pharmacy that is

under contract with, or otherwise authorized by a, covered entity to receive 340B

drugs on behalf of the covered entity unless such receipt is prohibited by the


                                           20

  Appellate Case: 25-1619      Page: 33     Date Filed: 05/15/2025 Entry ID: 5517164
United States Department of Health and Human Services.” S.B. 751, Mo. Rev.

Stat. § 376.414(2).

      To be clear: S.B. 751 regulates pricing and profits, not merely delivery,

because in all cases the statute’s obligations apply to a “340B drug.” Novartis and

its wholesalers were already delivering these exact same drugs to these exact same

pharmacies before the law passed. App.19(R._Doc._1, at 19 ¶ 60). The only

change the law makes is the price Novartis can charge for the deliveries to these

same pharmacies for these same drugs. App.10, 18-19(R._Doc._1, at 10, 18-19

¶¶ 33, 57-60). Because the drugs are being delivered anyway, and because 340B

discounts are not passed onto patients, S.B. 751 also does not impact patient access

to medication. App.3-4(R._Doc._1, at 3-4 ¶ 6).

      Missouri’s law also regulates out-of-state transactions. Novartis, like most

other large-scale drug companies, is headquartered outside Missouri. It typically

sells its products to national wholesalers and distributors located around the

country. App.28-29(R._Doc._1, at 28-29 ¶ 96). In turn, the wholesalers sell the

products to national pharmacy chains, whose headquarters are also typically

located outside Missouri. Id. Further down the distribution chain, the drugs cross

the Missouri line and are dispensed to patients from an in-state pharmacy. Id. A

covered entity wishing to claim a 340B discount typically does not request or

receive the discount directly from the drug manufacturer. Instead, covered entities

                                         21

  Appellate Case: 25-1619     Page: 34    Date Filed: 05/15/2025 Entry ID: 5517164
buy from the (largely out-of-state) wholesalers and distributors, and obtain the

340B discount from them. Id. The national wholesalers then separately request a

refund from the manufacturers for the difference between the commercial price at

which the wholesaler purchased the drug from the manufacturer and the 340B

price that the wholesaler must now extend under S.B. 751. That transaction

typically takes place between two out-of-state entities. Id.

      The Missouri Attorney General enforces violations of S.B. 751 and is

empowered to seek numerous significant penalties. Mo. Rev. Stat. §§ 376.414(3),

407.130. A violation of S.B. 751 constitutes an unfair, abusive, or deceptive trade

practice under the Missouri Merchandising Practices Act (MMPA), id. § 407.020

et seq., which allows a maximum $5,000 fine per violation, id. § 407.110. The law

also imposes criminal penalties: A person who knowingly and willfully violates an

order prohibiting an MMPA violation is guilty of a Class E felony. Id. § 407.095.

      B.     Procedural History.

      Novartis sued to enjoin S.B. 751 and sought a preliminary injunction.

App.40-42(R._Doc._3). The State’s preliminary-injunction opposition included a

motion to dismiss the complaint for failure to state a claim. App.98-

139(R._Doc._32). The Missouri Hospital Association and Missouri Primary Care

Association intervened to defend S.B. 751. App.194-200(R._Doc._62).




                                         22

  Appellate Case: 25-1619     Page: 35    Date Filed: 05/15/2025 Entry ID: 5517164
      As relevant here, Novartis’s preliminary-injunction motion raised three

separate theories under the Dormant Commerce Clause— none of which were

raised in McClain—and three federal preemption challenges—one of which was

also never raised or passed upon in McClain.

      Novartis explained that S.B. 751 violates the Dormant Commerce Clause

because it regulates wholly out-of-state conduct; discriminates against out-of-state

economic interests; and creates incidental burdens on interstate commerce that far

outweigh any local benefit. The District Court denied Novartis’s preliminary-

injunction motion, ruling that Novartis was unlikely to succeed on the merits of its

Dormant Commerce Clause theories. App.322-325(R._Doc._78, at 7-10).

Separately, the District Court denied the State’s motion to dismiss these claims,

ruling each was a plausible theory under the Dormant Commerce Clause.

App.309-315(R._Doc._77, at 9-15).

      On preemption, Novartis raised three theories relevant to this appeal. First,

Novartis explained that the federal 340B statute preempted the field, such that all

state regulation of the 340B was invalid, App.70-73(R._Doc._9, at 27-30), and

second, that S.B. 751’s standalone enforcement mechanisms conflicted with

HHS’s exclusive jurisdiction over the 340B Program. App.74-76(R._Doc._9, at

31-33). The District Court ruled that Novartis was unlikely to succeed on the

merits of these claims in light of McClain. App.321-322(R._Doc._78, at 6-7).

                                         23

  Appellate Case: 25-1619    Page: 36     Date Filed: 05/15/2025 Entry ID: 5517164
      Novartis also brought a third preemption theory, contending that S.B. 751

conflicts with the federal 340B statute by requiring manufacturers to “honor

unlimited contract pharmacy arrangements.” App.73-74(R._Doc._9, at 30-31).

Novartis explained that Congress specifically intended that drug manufacturers

retain the ability to limit delivery of 340B drugs to a single contract pharmacy and

that S.B. 751 impermissibly overrode Congress’s determination. Id. (citing Sanofi,

58 F.4th at 703; Novartis, 102 F.4th at 462). This Court in McClain never

considered this preemption theory. The District Court nevertheless rejected

Novartis’s untested preemption claim solely on the basis of “Eighth Circuit

precedent” in McClain. App.321-322(R._Doc._78, at 6-7).

      Finally, the District Court evaluated the other preliminary injunction

factors—irreparable harm, the balancing of the equities, and public interest—and

ruled they did not support entry of a preliminary injunction. App.325-

328(R._Doc._78, at 10-13).

      Novartis timely appealed the denial of its motion for a preliminary

injunction. App.330-332(R._Doc._84).

                             STANDARD OF REVIEW

      When reviewing the denial of a preliminary injunction, this Court reviews

the district court’s “factual findings for clear error, its legal conclusions de novo,




                                           24

  Appellate Case: 25-1619      Page: 37     Date Filed: 05/15/2025 Entry ID: 5517164
and the court’s equitable judgment” for an abuse of discretion. Heartland Acad.

Cmty. Church v. Waddle, 335 F.3d 684, 690 (8th Cir. 2003).

      The District Court’s order here, entered on the papers without a hearing,

turned largely on its view that Novartis was unlikely to prevail on its Dormant

Commerce Clause and federal preemption claims. The legal conclusions

incorporated in that ruling are reviewed without deference. Lankford v. Sherman,

451 F.3d 496, 504 (8th Cir. 2006) (giving no deference to “erroneous legal

conclusions”); GLBT Youth in Iowa Task Force v. Reynolds, 114 F.4th 660, 670

(8th Cir. 2024) (similar).

                       SUMMARY OF THE ARGUMENT

      The District Court committed multiple legal errors in denying Novartis’s

request for a preliminary injunction.

      First, S.B. 751 likely violates the Dormant Commerce Clause in three

separate ways. For starters, the statute regulates wholly out-of-state transactions

by setting the price at which out-of-state drug manufacturers may sell their

products to out-of-state wholesalers—violating one of the Dormant Commerce

Clause’s distinct prohibitions. Styczinski v. Arnold, 46 F.4th 907, 913 (8th Cir.

2022). The District Court ruled that Novartis was unlikely to prevail on this theory

because the Missouri legislature did not “purposely discriminate” against out-of-

state economic interests. App.324(R._Doc._78, at 9). But the Supreme Court had

                                         25

  Appellate Case: 25-1619     Page: 38    Date Filed: 05/15/2025 Entry ID: 5517164
made clear that a state “statute that directly controls commerce occurring wholly

outside” of the state “is invalid regardless of whether the statute’s extraterritorial

reach was intended by the legislature.” Healy v. Beer Inst., Inc., 491 U.S. 324, 336

(1989).

      Next, S.B. 751 likely violates the Dormant Commerce Clause because it

discriminates against out-of-state economic interests by requiring an almost

completely out-of-state industry to subsidize Missouri’s hospitals and clinics. The

District Court ruled there was no “discrimination” because the in-state hospitals

and pharmacies are not “substantially similar” to the out-of-state drug

manufacturers. App.323(R._Doc._78, at 8). But substantial similarity between in-

state and out-of-state entities is not always a prerequisite to prevailing on a

discrimination theory. Rather, the Supreme Court regularly finds discrimination

against interstate commerce when the “burden of state regulation falls on interests

outside the State.” United Haulers Ass’n v. Oneida-Herkimer Solid Waste Mgmt.

Auth., 550 U.S. 330, 345 (2007).

      Finally, S.B. 751 likely violates the Dormant Commerce Clause because its

burdens clearly outweigh any local benefits. The District Court rejected this theory

because, in its view, S.B. 751 created significant “local benefits.”

App.324(R._Doc._78, at 9). That was wrong: S.B. 751 uses out-of-state entities to

effectively “financ[e]” local industry—an illegitimate interest under the Dormant

                                           26

  Appellate Case: 25-1619      Page: 39     Date Filed: 05/15/2025 Entry ID: 5517164
Commerce Clause. C&A Carbone, Inc. v. Town of Clarkstown, 511 U.S. 383, 394

(1994).

      Second, S.B. 751 is preempted by federal law. Novartis’s obstacle-

preemption theory is that S.B. 751 forces Novartis to give Missouri hospitals and

clinics the right to use unlimited contract pharmacies, while the federal 340B

statute preserves the right of drug manufacturers to limit delivery to a single

contract pharmacy. The District Court was incorrect to treat this theory as

controlled by McClain. App.321-322(R._Doc._78, at 6-7). McClain does not

address or resolve Novartis’s distinct preemption argument.

      Novartis acknowledges that its field- and enforcement-preemption theories

are similar to the field- and enforcement-preemption theories this Court rejected in

McClain. See 95 F.4th at 1143-44. Novartis preserves its ability to seek en banc

review of these issues because McClain conflicts with Supreme Court precedent in

rejecting these theories.

      Third, the District Court erred in its analysis of the other preliminary

injunction factors. S.B. 751 irreparably harms Novartis by causing millions of

dollars in financial losses and lost research opportunities, neither of which Novartis

could recover through the federal statute’s exclusive ADR process if the statute is

later held unconstitutional. And because neither the State’s interest nor the public




                                          27

  Appellate Case: 25-1619     Page: 40    Date Filed: 05/15/2025 Entry ID: 5517164
interest is served by enforcing an unconstitutional statute, these factors favor

Novartis as well.

                                    ARGUMENT

        A motion for a preliminary injunction requires the consideration of four

factors: “(1) the threat of irreparable harm to the movant; (2) the state of balance

between this harm and the injury that granting the injunction will inflict on other

parties litigant; (3) the probability that movant will succeed on the merits; and (4)

the public interest.” Dataphase Sys., Inc. v. CL Sys., Inc., 640 F.2d 109, 113 (8th

Cir. 1981) (en banc). All four factors weigh in Novartis’s favor.

I.      THE DISTRICT COURT ERRED IN RULING THAT NOVARTIS IS
        UNLIKELY TO SUCCEED ON THE MERITS

        A.    Novartis Is Likely To Prevail On Its Dormant Commerce Clause
              Claim.

        S.B. 751 regulates the price that pharmaceutical manufacturers may charge

their wholesalers for drugs that are later dispensed by a pharmacy in Missouri.

Once the price regulation aspect of S.B. 751 is understood, the Dormant

Commerce Clause violations naturally follow.

              1. S.B. 751 Regulates Drug Prices.

        S.B. 751 is a drug pricing statute. The state law prohibits drug

manufacturers from restricting or prohibiting delivery of a “340B drug” to any

contract pharmacy that a covered entity designates, and it defines a “340B drug” as

including a “covered outpatient drug within the meaning of Section 340B of the
                                          28

     Appellate Case: 25-1619   Page: 41    Date Filed: 05/15/2025 Entry ID: 5517164
Public Health Service Act, 42 U.S.C. Section 256b.” S.B. 751 §§ 376.414(1)(a),

376.414(3). By using the term “within the meaning of Section 340B,” the

Missouri statute mandates that the price of specific units of drugs be “at or below

the applicable ceiling price” set by the federal 340B statute. 42 U.S.C.

§ 256b(a)(1); App.18(R._Doc._1, at 18 ¶ 58).

      The District Court’s erred by resting its analysis exclusively on the statute’s

use of the word “deliver,” App.320(R._Doc._78, at 5), without also considering the

object of that mandate. The key question is delivery of what, and the answer is the

same drugs the pharmacy is already receiving, but now at a discount. Even before

the statute, these same drugs were already being delivered to these same Missouri

pharmacies by the same wholesalers or regional distributors. S.B. 751 does not

change when, where, or how the delivery occurs. It does not result in more or

fewer units of drugs being sold in the state. And critically, it does not change

whether and where the patients can access these drugs and at what price. The

statute affects nothing about that delivery other than the sales price that is paid for

the exact same unit of the exact same drug the pharmacy receives from the

wholesaler. App.19(R._Doc._1, at 19 ¶ 60).

      The details of the replenishment model used by contract pharmacies in

Missouri underscore that S.B. 751 regulates prices. Using that model, a third-party

administrator looks through claims data for dispenses by contract pharmacies long

                                          29

  Appellate Case: 25-1619     Page: 42     Date Filed: 05/15/2025 Entry ID: 5517164
after the prescription is filled to identify prescriptions that it claims were 340B

eligible, without providing the algorithms or specifics of the claim or how the

individual qualifies as a patient of the covered entity. When they purport to find

such a sale, the third-party administrator retroactively designates the drug as 340B-

eligible. App.2-3, 10(R._Doc._1, at 2-3, 10 ¶¶ 3, 4, 33). Again, manufacturers are

unable to verify whether the 340B discount was warranted.

      After the third-party administrator flags a previous transaction, the covered

entity then seeks to “replenish” the dispensed unit by ordering a brand new drug to

be delivered to the contract pharmacy at the 340B discounted price. That new unit

is then available for dispensing (at a non-discounted price) to the next customer

with a prescription. This is effectuated through a series of ex post discounts

extending up the supply chain to the manufacturer, which must reimburse its

wholesaler for the difference between the commercial price and the 340B price.

App.28-29(R._Doc._1, at 28-29 ¶ 96). S.B. 751 has zero impact beyond price on

any delivery of any product to any pharmacy. The only change is the price being

charged.

      S.B. 751 is also not about patients’ access to drugs. The replenishment

model means that the 340B drug is not even identified until after the patient has

already obtained a prescription and pays the retail price. Drugs subject to 340B

pricing are thus accessible to patients at the same pharmacies and for the same

                                          30

  Appellate Case: 25-1619     Page: 43     Date Filed: 05/15/2025 Entry ID: 5517164
retail prices without regard to S.B. 751. App.3-4, 11(R._Doc._1, at 3-4, 11 ¶¶ 6,

35).

       The State repeatedly insisted below that S.B. 751 is concerned with the

“delivery” of drugs and “does not cap or set the price of drugs.”

App.120(R._Doc._32, at 23) (emphasis in original); App.119(R._Doc._32, at 22)

(“Nothing about S.B. 751 adjusts . . . the price at which Novartis must sell those

drugs.”). But it is pure semantics to state that the statute does not regulate price,

only delivery of the drugs at a certain price. The State has never identified any

“delivery” requirement in S.B. 751 aside from the “delivery” of drugs at

discounted 340B prices. Nor could it: S.B. 751 does not affect the quality of the

drugs delivered, the amount delivered, how they are delivered, or where they are

delivered.

       A simple examination of how a manufacturer would violate S.B. 751 is

illustrative. Say a covered entity orders 100 units of a given drug from a

wholesaler for delivery to a contract pharmacy. The wholesaler already sells that

same drug to the pharmacy at commercial prices. A manufacturer violates S.B.

751 if it refuses to offer the 340B discount on any of those new units. That is a

pricing regulation, pure and simple. A statute advancing a state’s interest in drug

delivery, in contrast, could involve how many units can be delivered at once;




                                          31

  Appellate Case: 25-1619     Page: 44     Date Filed: 05/15/2025 Entry ID: 5517164
whether there must be temperature-controlled trains or trucks involved; or whether

the drugs are limited to specialized pharmacies. Nothing like that is present here.

      A federal court in West Virginia understood this shell game. PhRMA v.

Morrisey, __ F. Supp.3d __, 2024 WL 5147643 (S.D. W. Va. Dec. 17, 2024). The

court explained that manufacturers risk violating West Virginia’s similar 340B

“delivery” statute “not by withholding drugs from contract pharmacies, but by

refusing the 340B discount when delivering [their] drugs to those pharmacies.” Id.

at *9 (citation omitted). The court also understood how the replenishment model

factors into the analysis: “The question is only about what price the pharmacy and

the covered entity will pay the manufacturer for the replenished drug upon

distribution of the 340B Program eligible one”—thus, the state statute required

“delivery at a given price,” not “delivery per se.” Id. at *8.

      Contrary to the District Court’s understanding, App.321(R._Doc._78, at 6),

McClain does not suggest otherwise. McClain addressed federal preemption

claims and does not speak to the merits of the unrelated Dormant Commerce

Clause claim at issue here. See United States v. Green, 691 F.3d 960, 964 n.5 (8th

Cir. 2012) (implicit holdings of “an issue that was not raised or discussed is not

binding precedent”); Downs v. Holder, 758 F.3d 994, 997-998 (8th Cir. 2014)

(similar). What’s more, the facts as understood by this Court in McClain—the

earliest case challenging a state 340B statute—do not square with the allegations in

                                          32

  Appellate Case: 25-1619     Page: 45     Date Filed: 05/15/2025 Entry ID: 5517164
Novartis’s complaint. McClain rested on the factual predicate that the covered

entities in Arkansas maintain title to the 340B drugs that their contract pharmacies

dispense. 95 F.4th at 1142. Novartis directly alleges the opposite here,

App.17(R._Doc._1, at 17 ¶ 53), underscoring that S.B. 751 is not actually about the

“delivery” of a covered entity’s 340B drugs, but the price that covered entities pay

under the 340B Program on units delivered to contract pharmacies.

             2. S.B. 751 Likely Violates The Dormant Commerce Clause In Three
                Independent Ways.

      The Commerce Clause, U.S. Const. art. I, § 8, cl. 3, includes a “negative

command, known as the dormant Commerce Clause,” which prohibits states from

regulating or discriminating against interstate commerce. Oklahoma Tax Comm’n

v. Jefferson Lines, Inc., 514 U.S. 175, 179 (1995). S.B. 751 violates that

prohibition in three independent ways: It regulates wholly out-of-state conduct; it

discriminates against out-of-state economic interests; and it creates incidental

burdens on interstate commerce that far outweigh any local benefit. Each of these

theories is sufficient to show a likelihood of success on the merits.

                  i.   S.B. 751 unlawfully regulates wholly out-of-state
                       transactions.

      A state law that “directly control[s] wholly out-of-state commerce is invalid”

under the Dormant Commerce Clause. Styczinski, 46 F.4th at 913; see also Healy,

491 U.S. at 336 (prohibiting state regulation of “commerce that takes place wholly


                                          33

  Appellate Case: 25-1619     Page: 46     Date Filed: 05/15/2025 Entry ID: 5517164
outside of the State’s borders” (quoting Edgar v. MITE Corp., 457 U.S. 624, 642-

643 (1982) (plurality opinion)). S.B. 751 runs afoul of that rule.

      S.B. 751 provides that “pharmaceutical manufacturer[s]” shall not

“indirectly” restrict delivery of a 340B drug to any and all contract pharmacies that

a Missouri covered entity designates. § 376.414.2. Virtually all drug

manufacturers subject to that sweeping command are located outside of Missouri

and violate the statute by denying 340B discounts in out-of-state transactions with

wholesalers. App.28-29(R._Doc._1, at 28-29 ¶ 96).

      Novartis does not transact directly with any Missouri covered entities. It

transacts with out-of-state wholesalers, and those wholesalers distribute Novartis’s

drugs nationwide. App.28-29, 36(R._Doc._1, at 28-29, 36 ¶¶ 96, 122). Missouri’s

covered entities—some of which even use out-of-state contract pharmacies—

obtain the 340B discount from wholesalers, and the wholesalers then separately

request a refund from Novartis. App.28-29(R._Doc._1, at 28-29 ¶ 96). S.B. 751

requires drug manufacturers anywhere in the country to honor the wholesaler’s

refund request for units subject to that law, even when the drug manufacturer did

“not conduct[] a single transaction in [Missouri]” or with a Missouri-based entity.

Styczinski, 46 F.4th at 913. The statute thus regulates “commerce wholly outside”

of Missouri, which is disallowed under the Dormant Commerce Clause. Id.; see

also, e.g., Legato Vapors, LLC v. Cook, 847 F.3d 825, 836 (7th Cir. 2017)

                                         34

  Appellate Case: 25-1619    Page: 47     Date Filed: 05/15/2025 Entry ID: 5517164
(Dormant Commerce Clause invalidates Indiana law regulating e-cigarette “sales

by an out-of-state manufacturer to an out-of-state distributor” even where “the

distributor resells the e-liquids to Indiana retailers” because the regulated upstream

transaction took place “wholly outside” of Indiana).

      The District Court’s reasoning in rejecting this theory does not hold up.

App.324-325(R._Doc._78, at 9-10). For starters, the District Court “presum[ed]”

that S.B. 751 does not operate extraterritorially because its “express text” does not

address conduct outside of Missouri. App.325(R._Doc._78, at 10). But by

mandating a discounted price be given by manufacturers—virtually all of which

are effectuated out of state—the state law regulates purely extraterritorial conduct

between manufacturers and wholesalers. See Association for Accessible Meds. v.

Ellison, 704 F. Supp. 3d. 947, 953 (D. Minn. 2023) (ruling that price restrictions on

“drugs . . . ‘delivered’ within the State” applies to the initial sale occurring outside

of the state); see also App.157-158(R._Doc._35-1) (demanding that Novartis honor

340B discounts for drugs delivered to all of a Missouri covered entity’s contract

pharmacies). Indeed, S.B. 751 even reaches drugs dispensed by non-Missouri

pharmacies outside of Missouri as long as they contract with a Missouri-based

covered-entity.

      The District Court next rejected Novartis’s extraterritoriality challenge on

the basis that S.B. 751 treats drug manufacturers the same “regardless of their in-

                                           35

  Appellate Case: 25-1619      Page: 48     Date Filed: 05/15/2025 Entry ID: 5517164
state or out-of-state operations.” App.325(R._Doc._78, at 10). But that conflates

two distinct Dormant Commerce Clause theories: A state’s discriminatory

treatment of out-of-state entities has no bearing on Novartis’s standalone theory

that Missouri impermissibly regulates wholly out-of-state transactions. Styczinski,

46 F.4th at 912 (explaining that “extraterritorial control” of out-of-state

transactions and “discriminat[ion] against interstate commerce” are separate

theories).

      The District Court was also mistaken in its view that S.B. 751 does not

regulate wholly out-of-state transactions because the drugs are ultimately delivered

or acquired by “contract pharmacies within the state.” App.325(R._Doc._78, at

10). Court after court has recognized the opposite (and obvious) truism: A drug

manufacturer’s initial sale to “national wholesalers,” App.28-29(R._Doc._1, at 28-

29 ¶ 96), is separate from a regional wholesaler’s or distributor’s later sale to an

individual pharmacy.

      And the Dormant Commerce Clause prohibits states from regulating the

manufacturer’s initial sale, if that sale occurs out of state. In Association for

Accessible Medicines v. Frosh, for example, the Fourth Circuit held that a

Maryland state law prohibiting all drug manufacturers and wholesalers from

engaging in price gouging did not regulate the Maryland retailers that ultimately

sold the drugs to patients. 887 F.3d 664, 671-672 (4th Cir. 2018). The court

                                          36

  Appellate Case: 25-1619     Page: 49     Date Filed: 05/15/2025 Entry ID: 5517164
explained that the “lawfulness of a price increase is measured according to the

price the manufacturer or wholesaler charges in the initial sale of the drug.” Id. at

671 (emphasis in original). Because that upstream transaction took place outside

of Maryland, the Dormant Commerce Clause prevented the state from regulating it.

Id. at 671-672. Courts across the country have reached the same result. See

Ellison, 704 F. Supp. 3d. at 953 (preventing liability for sales to wholesaler “that

take place wholly outside of Minnesota”); Healthcare Distrib. All. v. Zucker, 353

F. Supp. 3d 235, 246, 261-262 (S.D.N.Y. 2018) (law prohibiting manufacturers

from “pass[ing]-through” a regulatory fee impermissibly regulated transactions

wholly outside of New York), rev’d in part on other grounds sub nom. Association

for Accessible Meds. v. James, 974 F.3d 216, 219 (2d Cir. 2020); PhRMA v.

District of Columbia, 406 F. Supp. 2d 56, 68 (D.D.C. 2005) (price restrictions on

sales from manufacturers to wholesalers on drugs later sold in the District

impermissibly regulate wholly out-of-state transactions), aff’d sub. nom.

Biotechnology Indus. Org. v. District of Columbia, 496 F.3d 1362 (Fed. Cir. 2007).

      Finally, the District Court faulted Novartis for not alleging that the Missouri

legislature purposefully discriminated against out-of-state economic interests.

App.324-325(R._Doc._78, at 9-10) (citing National Pork Producers Council v.

Ross, 598 U.S. 356 (2023)). But the Supreme Court has explained that a state

“statute that directly controls commerce occurring wholly outside” of the state “is

                                          37

  Appellate Case: 25-1619     Page: 50     Date Filed: 05/15/2025 Entry ID: 5517164
invalid regardless of whether the statute’s extraterritorial reach was intended by the

legislature.” Healy, 491 U.S. at 336. The Court has also emphasized that Healy’s

no-intent-required rule prevents states from requiring out-of-state drug

manufacturers to “sell their drugs to a wholesaler for a certain price.” PhRMA v.

Walsh, 538 U.S. 644, 669 (2003); see also Frosh, 887 F.3d at 672 (holding Walsh

prohibits state laws that “regulate[] the price of [] out-of-state transaction[s]”).

      The Supreme Court’s recent decision in National Pork Producers Council v.

Ross, 598 U.S. 356 (2023), kept Healy’s rule intact. Pork Producers rejected a

“per se” rule that the Dormant Commerce Clause forbids enforcement of state laws

that have a “practical effect” of controlling commerce outside of the state, 598 U.S.

at 371, 374—separate from the Dormant Commerce Clause’s rule that states may

not regulate wholly out-of-state transactions. Pork Producers’s rejection of the per

se “practical effects” rule stemmed from a state’s well-established right to exclude

certain widely-available products from its territory, in that case, California’s right

to prohibit the sale of pork meat derived from animals confined in a cruel manner.

Id. at 369; City of Philadelphia v. New Jersey, 437 U.S. 617, 629 (1978) (states

may “prevent[] traffic in noxious articles, whatever their origin”). That right of

exclusion is valid, the Supreme Court explained, even though it has significant

“practical effects” on interstate commerce. Pork Producers, 598 U.S. at 374




                                           38

  Appellate Case: 25-1619      Page: 51     Date Filed: 05/15/2025 Entry ID: 5517164
(providing examples of other state laws, such as those regulating taxes or the

environment, that have permissible “practical effects” on interstate commerce).

      The “practical effects” doctrine at issue in Pork Producers is not implicated

here, as Missouri does not seek to regulate the nature or type of drugs that can be

sold in-state or the conditions under which those products must be produced or

delivered. Instead, Missouri purports to regulate only the price that drug

manufacturers can charge wholesalers for drugs in wholly out-of-state transactions.

See National Pork Producers Council v. Ross, 6 F.4th 1021, 1029 (9th Cir. 2019)

(“A state law is not impermissibly extraterritorial unless it directly regulates

conduct that is wholly out of state.”), aff’d 598 U.S. 356 (2023). Courts have

consistently read Pork Producers and Healy to draw that critical distinction. See

Sam Francis Found. v. Christies, Inc., 784 F.3d 1320, 1324 (9th Cir. 2015) (en

banc) (distinguishing between laws regulating “wholly out-of-state conduct” and

those regulating “in-state conduct with allegedly significant out-of-state practical

effects”); see also Interlink Prods. Int’l, Inc. v. Crowfoot, 678 F. Supp. 3d 1216,

1223 (E.D. Cal. 2023) (Pork Producers clarified that laws with mere

“extraterritorial effects are not prohibited under the dormant Commerce Clause”

and “distinguished them from those in which a law directly regulated out-of-state

transactions”) (quotation marks omitted); Ellison, 704 F. Supp. at 953 (“Pork

Producers did not change the rule that a state may not directly regulate transactions

                                          39

  Appellate Case: 25-1619     Page: 52     Date Filed: 05/15/2025 Entry ID: 5517164
that take place wholly outside the state and have no connection to it.”). Novartis is

likely to prevail on this Dormant Commerce Clause theory.

                 ii.   S.B. 751 discriminates against out-of-state economic
                       interests.

      Separately, a state law that “discriminates against out-of-state goods or

nonresident economic actors” also violates the Dormant Commerce Clause.

Tennessee Wine & Spirits Retailers Ass’n v. Thomas, 588 U.S. 504, 518, 540

(2019). In this context, discrimination means “differential treatment of in-state and

out-of-state economic interests that benefits the former and burdens the latter.”

Oregon Waste Sys., Inc. v. Department of Env’t Quality of State of Or., 511 U.S.

93, 99 (1994). S.B. 751 violates this rule, too.

      S.B. 751 requires out-of-state manufacturers to provide their products at

340B-discounted prices to Missouri-based hospitals and their contract pharmacies

in a wide number of transactions that the federal program itself does not require.

App.36(R._Doc._1, at 36 ¶ 124). That amounts to a direct cash transfer from the

pockets of (almost entirely) out-of-state drug manufacturers to (entirely) in-state

hospitals and clinics. The Dormant Commerce Clause prohibits such disfavored

treatment of out-of-state “economic interests.” Oregon Waste, 511 U.S. at 99.

      The District Court accepted the premise that S.B. 751 favors in-state

hospitals and clinics at the expense of a drug-manufacturing industry located



                                          40

  Appellate Case: 25-1619     Page: 53    Date Filed: 05/15/2025 Entry ID: 5517164
almost entirely outside of Missouri. Regardless, it ruled that Novartis was unlikely

to prevail on this theory because it had not shown “how in-state pharmacies are

substantially similar to out-of-state manufacturers.” App.323(R._Doc._78, at 8)

(citing Department of Revenue of Ky. v. Davis, 553 U.S. 328, 342 (2008)).

      That was legal error. There is no requirement that the advantaged in-state

industry be the “same” as the disadvantaged out-of-state industry, or that the two

groups be substantially similar. See Frosh, 887 F.3d at 673-674 (finding Dormant

Commerce Clause violation where drug pricing statute alters the interstate activity

between manufacturers, wholesalers, and retailers). To the contrary, state laws can

impermissibly discriminate against interstate commerce where “the burden of state

regulation falls on interests outside the state.” Oneida-Herkimer, 550 U.S. at 345;

see also Bacchus Imports, Ltd. v. Dias, 468 U.S. 263, 272-273 (1984) (states “may

not ‘build up [their] domestic commerce by means of unequal and oppressive

burdens upon the industry and business of other States.’ ” (quoting Guy v.

Baltimore, 100 U.S. 434, 443 (1880)). Because such lopsided laws lack the

“political restraints normally exerted when interests within the state are affected,”

the Supreme Court’s “dormant Commerce Clause cases often find discrimination.”

Oneida-Herkimer, 550 U.S. at 345.

      The District Court’s contrary conclusion rested on the Supreme Court’s

decision in Department of Revenue of Kentucky v. Davis, which stated that “any

                                          41

  Appellate Case: 25-1619     Page: 54     Date Filed: 05/15/2025 Entry ID: 5517164
notion of discrimination assumes a comparison of substantially similar entities.”

App.323(R._Doc._78, at 8) (quoting 553 U.S. 328, 342 (2008)). But the principle

that “favored and disfavored entities” must be substantially similar to show

discrimination applies only when the two are “allegedly competing” with one

another. General Motors Corp. v. Tracy, 519 U.S. 278, 299-300 (1997). Because

drug manufacturers and covered entities are not in direct competition, Davis’s

statement does not apply.

      In fact, Davis has no bearing on Novartis’s discrimination theory at all. In

Davis, the Supreme Court upheld Kentucky’s law providing tax-exempt status to

in-state municipal bonds but not out-of-state municipal bonds because the out-of-

state bond issuers were “properly treated” as “private entit[ies].” Id. at 343. And

Kentucky was under no obligation to apply the same tax treatment to public and

private entities that operate in the same market. Id. at 343 & n.13. That case sheds

no light on the question here: Whether Missouri discriminates against interstate

commerce when it enacts laws propping up an exclusively in-state hospital and

clinic industry at the expense of an almost-exclusively out-of-state drug

manufacturing industry.

      The answer is yes. Novartis is likely to succeed on the merits of showing

that S.B. 751 improperly discriminates against out-of-state economic interests.




                                         42

  Appellate Case: 25-1619    Page: 55     Date Filed: 05/15/2025 Entry ID: 5517164
                 iii.    S.B. 751 fails the Pike balancing test.

      S.B. 751 further, and independently, violates the Dormant Commerce Clause

because the incidental “burden imposed on [interstate] commerce is clearly

excessive in relation to the putative local benefits.” Pike v. Bruce Church, Inc.,

397 U.S. 137, 142 (1970); see also Pork Producers, 598 U.S. at 403 (Kavanaugh,

J., concurring) (“six Justices of this Court affirmatively retain the longstanding

Pike balancing test”).

      On one side of the scale, S.B. 751 harms interstate commerce by reducing

the revenues that national drug manufacturers receive on drugs that are later sold in

Missouri (or at least, sold by contract pharmacies used by Missouri-based covered

entities). Drugs unconnected to a Missouri covered entity or its contract

pharmacies, by contrast, are not subject to S.B. 751’s price controls—effectively

stratifying the national market for prescription drugs. See General Motors Corp.,

519 U.S. at 287 (Dormant Commerce Clause exists to protect “free private trade in

the national marketplace”).

      The burdens that out-of-state manufacturers must bear when their drugs

eventually cross over the Missouri state line are significant. Novartis anticipates

that complying with S.B. 751 will cost it millions of dollars per year in forced

discounts. App.92(R._Doc._9-1, at 4 ¶ 12). Those costs will only multiply, as

more states follow Arkansas’s and Missouri’s lead. See Healy, 491 U.S. at 336

                                          43

  Appellate Case: 25-1619      Page: 56    Date Filed: 05/15/2025 Entry ID: 5517164
(the state statute’s interstate burdens must consider how the law “may interact with

the legitimate regulatory regimes of other States”); Frosh, 887 F.3d at 670 (holding

Maryland statute violated Dormant Commerce Clause, in part, because “if

similarly enacted by other states, [it] would impose a significant burden on

interstate commerce involving prescription drugs”). Comparable statutes have

been adopted by Kansas, Louisiana, Nebraska, Mississippi, Maryland, Minnesota,

New Mexico, North Dakota, South Dakota, Tennessee, Utah, and West Virginia—

and more are sure to come. App.31(R._Doc._1, at 31 ¶ 102); see supra n.2.

      These laws are not identical. See CTS Corp. v. Dynamics Corp. of

America, 481 U.S. 69, 88 (1987) (invalidating state “statutes that may adversely

affect interstate commerce by subjecting activities to inconsistent regulations”);

Healy, 491 U.S. at 337 (Dormant Commerce Clause “preclude[s]” “competing and

interlocking local economic regulation”). New Mexico, for example, requires

manufacturers to honor unlimited contract pharmacies only for covered entities

that “receive federal grant funding.” N.M. H.B. 78, § 1(A)(4). Nebraska,

meanwhile, requires discounts for covered drugs delivered to “any location” that

the covered entities authorize. Neb. L.B. 168, § 3(1). And Louisiana requires

340B discounts to be honored at a pharmacy of the “patient’s choice.” La. Rev.

Stat. § 40:2883(A)(vi)(d). Novartis must now contend with a patchwork of state

laws carving out their own regimes for the federal 340B system,

                                         44

  Appellate Case: 25-1619     Page: 57    Date Filed: 05/15/2025 Entry ID: 5517164
App.94(R._Doc._9-1, at 6 ¶ 18), “balkaniz[ing]” the national market for

pharmaceutical drugs and undercutting the foundations of the Dormant Commerce

Clause. Fulton Corp. v. Faulkner, 516 U.S. 325, 333 n.3 (1996).

       On the other side of the scale, no “local benefits” justify these immense

burdens on interstate commerce. Pike, 397 U.S. at 142. Again, S.B. 751

effectively amounts to a direct cash transfer from out-of-state drug manufacturers

to in-state hospitals and clinics, and for-profit pharmacies. And “financing,” or

enriching, local industry—especially when it burdens out-of-state actors—is not a

valid interest under the Dormant Commerce Clause. C&A Carbone, 511 U.S. at

394.

       Even if Missouri could identify a legitimate local purpose, it could achieve

that purpose with “a lesser impact on interstate activities.” Pike, 397 U.S. at 90.

Most obviously, Missouri could directly “subsidize” its local hospitals, clinics, and

pharmacies “through general taxes” or bonds. C&A Carbone, 511 U.S. at 394.

       The District Court rejected Novartis’s Pike-based argument because, in its

view, S.B. 751 provides local benefits through “pricing discounts on certain drugs

prescribed to individuals and families whose income falls below the federal

poverty level.” App.324(R._Doc._78, at 9). That is wrong three times over. First,

the 340B Program does not provide pricing discounts to individuals or families

whose income falls below the federal poverty level. The discount is for a

                                         45

  Appellate Case: 25-1619     Page: 58    Date Filed: 05/15/2025 Entry ID: 5517164
hospital’s or clinic’s purchase based on its covered-entity status; it applies to drugs

dispensed to their high-income and low-income patients alike; and the discount is

not applicable to patient purchases. See supra 9-10; 42 U.S.C. § 256b(a)(1).

       Second, the District Court ignored Novartis’s evidence that covered entities,

contract pharmacies, and their third-party administrators frequently “pocket the

discount themselves,” rather than pass them onto their patients. App.13-

14(R._Doc._1, at 13-14 ¶ 44); see also App.83(R._Doc._9, at 40);

App.60(R._Doc._9, at 6). Novartis presented a 2022 study published by the Food

& Drug Law Institute that found that contract pharmacies reach an “astounding

72%” average profit margin when dispensing common 340B drugs, compared to

22% for non-340B drugs. App.83(R._Doc._9, at 40) (citing Peter J. Pitts & Robert

Popovian, 340B and the Warped Rhetoric of Healthcare Compassion, (FDLI Fall

2022));3 see also 11A Charles A. Wright & Arthur R. Miller, Fed. Prac. & Proc.

Civ. § 2949 (3d ed. 2025 update) (“hearsay evidence also may be considered” on a

preliminary injunction motion). It also highlighted that major pharmacy retailers

retain 340B discounts—instead of passing them onto customers—at such a level

that those discounts are material to their financial outlook. App.299(R._Doc._72,

at 14) (citing CVS Health Corp., Annual Report (SEC Form 10-K), at 22 (Feb. 8,



3
 https://www.fdli.org/2022/09/340b-and-the-warpedrhetoric-
of-healthcare-compassion/
                                          46

    Appellate Case: 25-1619   Page: 59     Date Filed: 05/15/2025 Entry ID: 5517164
2023), https://bit.ly/3Sh3Dl1; Walgreens Boots Alliance, Inc., Annual Report (SEC

Form 10-K), at 28 (Oct. 13, 2022), http://bit.ly/3kflVXh). By contrast, neither the

State nor intervenors put forth any conflicting evidence or studies to show that S.B.

751 generally decreases costs for needy patients.

      Notably, the District Court denied the State’s motion to dismiss Novartis’s

Pike theory, ruling that S.B. 751’s purported local benefits “may warrant further

scrutiny.” App.314(R._Doc._77, at 14). Yet for the preliminary injunction

motion, the District Court accepted the State’s contested (and flimsy) assertion that

S.B. 751 generally creates savings and increases access for low-income patients,

App.324(R._Doc._78, at 9), without holding a hearing. See Wright & Miller

§ 2949 (“[W]here there are factual disputes . . . a live hearing is more likely

needed.”).

      Third, the District Court violated the Supreme Court’s command to closely

scrutinize a state’s asserted interest when the statute “bears disproportionately on

out-of-state residents and businesses.” Kassel v. Consolidated Freightways Corp.

of Del., 450 U.S. 662, 676 (1981); see also Clover-Green Spring Dairies Inc. v.

Pennsylvania Milk Marketing Bd., 298 F.3d 201, 215-216 & n.18 (3d Cir. 2002).

S.B. 751 is directed at “pharmaceutical manufacturer[s],” § 376.414.2, nearly all of

which operate outside of the state and do not represent any “major in-state

interests.” Minnesota v. Clover Leaf Creamery Co., 449 U.S. 456, 473 & n. 17

                                          47

  Appellate Case: 25-1619     Page: 60     Date Filed: 05/15/2025 Entry ID: 5517164
(1981). Because there is “reason to suspect” that S.B. 751’s “gainers will be [in-

state] firms” and its “losers out-of-state firms,” this Court should closely examine

any justification the State puts forth to support S.B. 751’s grossly uneven burdens.

Id. at 473.

       B.     Novartis Is Likely To Prevail On Its Claim That S.B. 751
              Conflicts With The Federal 340B Statute, And McClain Does Not
              Hold Otherwise.

       Novartis is also likely to prevail on its claims for injunctive relief based on

federal preemption. S.B. 751 grants Missouri covered entities the right to use an

unlimited number of contract pharmacies. That conflicts with the federal 340B

statute, which Congress drafted to preserve a manufacturer’s right to limit

distribution to a single contract pharmacy at the covered entity’s choosing.

Novartis, 102 F.4th at 463; see also Sanofi, 58 F.4th at 706 (“Congress’s purposes”

was not for covered entities to “use an unlimited number of contract pharmacies”).4

       The Constitution’s Supremacy Clause, U.S. Const. Art. VI, § 2, prohibits

states from enacting laws that “stand[ ] as an obstacle to the accomplishment and



4
  Following the parties’ briefing, the D.C. and Third Circuits discussed a
manufacturer’s limitation to distribute to a single contract pharmacy in terms of
being a “delivery condition,” without considering whether such conditions are
actually about price, because that was not at issue in those cases. The question in
those cases was whether a manufacturer makes an “offer” under Section 256b(a)(1)
if it places certain conditions on that offer. Moreover, because Novartis and Sanofi
did not involve state laws, there was no Dormant Commerce Clause analysis to
conduct.
                                           48

    Appellate Case: 25-1619    Page: 61    Date Filed: 05/15/2025 Entry ID: 5517164
execution of the full purposes and objectives of Congress.” Fidelity Fed. Sav. &

Loan Ass’n v. de la Cuesta, 458 U.S. 141, 152-153 (1982) (internal quotation

marks and citation omitted). S.B. 751 conflicts with the federal 340B statute, and

thus violates that rule.

       The federal 340B statute requires manufacturers to “offer each covered

entity covered outpatient drugs for purchase” at or below the statutory ceiling

“price.” 42 U.S.C. § 256b(a)(1). Using this specific language, Congress “merely

require[d] manufacturers to propose to sell covered drugs to covered entities at or

below a specified monetary amount.” Novartis, 102 F.4th at 460; Sanofi, 58 F.4th

at 703 (“Even if drug makers limit where they will deliver drugs, they still present

the drugs for covered entities’ acceptance.”). By limiting the statute’s reach,

Congress intentionally “preserve[d]” a manufacturer’s pre-existing ability to

“impose at least some delivery conditions.” Novartis, 102 F.4th at 460; see also

Sanofi, 58 F.4th at 705 (Congress intended to grant “drug makers discretion on

delivery”). That includes manufacturers’ right to limit distribution of 340B drugs

to a single “contract pharmacy designated or previously used” by a covered entity.

Novartis, 102 F.4th at 463. Congress authorized manufacturers to implement this

limited delivery policy because, with it, the manufacturer is still making a bona

fide and reasonable “offer” to covered entities at the statute’s ceiling “price”—the

core, and balanced, requirements that Congress imposed on manufacturers. Id.; see

                                         49

  Appellate Case: 25-1619     Page: 62    Date Filed: 05/15/2025 Entry ID: 5517164
also Rodriguez v. United States, 480 U.S. 522, 525-526 (1987) (“Deciding what

competing values will or will not be sacrificed to the achievement of a particular

objective is the very essence of legislative choice.”).

      S.B. 751, by contrast, permits covered entities to use an unlimited number of

contract pharmacies. That “frustrate[s]” the federal 340B statute’s “natural

effect”—which, again, was to preserve a manufacturer’s right to limit delivery to

one contract pharmacy—and thus cannot stand. Crosby v. National Foreign Trade

Council, 530 U.S. 363, 373 (2000) (applying “obstacle” preemption).

      The Supreme Court’s decision in Geier v. American Honda Motor Co.,

underscores that state laws may not limit the range of options that Congress

intended to provide regulated entities. 529 U.S. 861 (2000); see also Medtronic,

Inc. v. Lohr, 518 U.S. 470, 485 (1996) (“The purpose of Congress is the ultimate

touchstone in every preemption case.”) (internal quotation marks omitted). In

Geier, an injured driver claimed that the car he was driving was negligently and

defectively designed because it lacked a driver’s side airbag. 518 U.S. at 865.

While federal safety standards at the time provided car manufacturers with a range

of options for passive restraint devices, id. at 874-875, the driver’s lawsuit would

have required auto manufacturers to install an airbag. Id. at 881. Because that

outcome would undermine Congress’s decision to permit a variety of devices, the

state law “stood as an obstacle” to the execution of “federal objectives” and was

                                          50

  Appellate Case: 25-1619     Page: 63     Date Filed: 05/15/2025 Entry ID: 5517164
thus preempted. Id. (internal quotation marks omitted); see also de la Cuesta, 458

U.S. at 156 (state law limiting the availability of an option considered essential to a

federal scheme was conflict preempted).

      Novartis presented this obstacle-preemption theory to the District Court. See

App.73-74(R._Doc._9, at 30-31); App.24-25(R._Doc._1, at 24-25 ¶ 83);

App.91(R._Doc._9-1, at 3 ¶ 8). The District Court rejected it “[g]iven the Eighth

Circuit precedent” in McClain. App.321-322(R._Doc._78, at 6-7). But, critically,

McClain never considered this obstacle-preemption theory and offers no guidance

on how to resolve that issue. In McClain, PhRMA contended that the Arkansas

statute was preempted because the federal 340B statute created a “closed system”

that forbid any contract pharmacies from obtaining drugs at 340B prices. McClain,

95 F.4th at 1144; Appellant’s Opening Brief, PhRMA v. McClain, No. 22-3675,

2023 WL 2337833, at *43 (8th Cir. Feb. 22, 2023) (“Act 1103 is conflict

preempted because it frustrates . . . Congress’s intent to operate the federal 340B

program as a closed system.”); Complaint, PhRMA v. McClain, Case 4:21-cv-

00864-BRW, Dkt. 1 ¶ 69 (E.D. Ark. Sept. 29, 2021) (alleging conflict preemption

because “[n]either contract pharmacies nor ‘community pharmacies’ are among the

[federal 340B statute’s] fifteen enumerated covered entities”). McClain rejected

that preemption theory, 95 F.4th at 1144, but was not presented with and did not

pass upon Novartis’s theory here: That S.B. 751 is obstacle preempted because it

                                          51

  Appellate Case: 25-1619     Page: 64     Date Filed: 05/15/2025 Entry ID: 5517164
requires manufacturers to recognize an unlimited number of contract pharmacies.

Novartis is likely to prevail on this untested obstacle-preemption theory.

      C.     Novartis Preserves An Argument That McClain Was Wrongly
             Decided.

      Novartis contended that S.B. 751 is both field preempted and enforcement

preempted. While the District Court ruled that those arguments are foreclosed

under McClain, Novartis preserves for further review that McClain’s holdings on

these points conflict with Supreme Court decisions and implicate matters of

exceptional importance.

             1. McClain’s Field Preemption Holding Conflicts With Supreme
                Court Case Law.

      State laws are preempted where the federal regulation is “so pervasive as to

make reasonable the inference that Congress left no room for the States to

supplement it.” English v. General Elec. Co., 496 U.S. 72, 79 (1990). The federal

340B statute establishes such a scheme.

      Congress’s expansive delegation of power to HRSA to administer the 340B

Program makes clear that it intended to exclusively occupy the entire field of 340B

transactions. It is the Secretary’s exclusive duty to provide for compliance

improvements, 42 U.S.C. § 256b(d)(1)(A), by establishing “a single, universal, and

standardized identification system [] for purposes of facilitating the ordering,

purchasing, and delivery of covered outpatient drugs[,] including the processing of


                                          52

  Appellate Case: 25-1619     Page: 65    Date Filed: 05/15/2025 Entry ID: 5517164
chargebacks for such drugs,” id. § 256b(d)(2)(B)(iv) (emphasis added). Congress

implemented a “single integrated and all-embracing” federal system, thus

occupying the field. Hines v. Davidowitz, 312 U.S. 52, 74 (1941); American Ins.

Ass’n v. Garamendi, 539 U.S. 396, 419 n.11 (2003).

      McClain held that the federal 340B statute does not occupy the field in part

because “the practice of pharmacy is an area traditionally left to state regulation.”

95 F.4th at 1143. That presumption against preemption flows from the “historic

primacy of state regulation of matters of health and safety.” Buckman Co. v.

Plaintiffs’ Legal Comm., 531 U.S. 341, 348 (2001). But because the contours and

administration of the national 340B Program represent “uniquely federal” interests,

the presumption against preemption does not attach. Boyle v. United Techs. Corp.,

487 U.S. 500, 507-508 (1988); see also Buckman, 531 U.S. at 348 (similar).

             2. McClain’s Enforcement Preemption Holding Conflicts With
                Supreme Court Case Law.

      The federal 340B statute creates exclusive enforcement mechanisms, and

McClain’s contrary holding runs afoul of Astra USA, Inc. v. Santa Clara County,

563 U.S. 110 (2011).

      State laws are preempted when they “involve[] a conflict in the method of

enforcement” that Congress created. Arizona v. United States, 567 U.S. 387, 406

(2010). S.B. 751 is preempted under that theory as well. The federal 340B statute



                                          53

  Appellate Case: 25-1619     Page: 66     Date Filed: 05/15/2025 Entry ID: 5517164
provides two, detailed methods of enforcement. See supra 10-11 (describing

HHS’s direct enforcement authority and the parallel ADR process).

       The Supreme Court held in Astra that those mechanisms were exclusive.

563 U.S. at 117, 120. In Astra, county-operated 340B facilities brought state-law

third-party beneficiary claims for breach of contract against drug manufacturers,

claiming they were changing prices beyond the 340B cap. Id. at 117. The

Supreme Court rejected those claims, concluding that additional enforcement

mechanisms would “undermine the agency’s efforts to “administer both Medicaid

and § 340B harmoniously and on a uniform, nationwide basis.” Id. at 120. That

precedent applies here: S.B. 751 is preempted because its grant of authority to the

Missouri Attorney General to bring suit threatens “a multitude of dispersed and

uncoordinated lawsuits.” Astra, 563 U.S. at 120; see also Morrisey, 2024 WL

5147643, at *12 (ruling West Virginia 340B law was preempted because its

enforcement provisions “much like the county in Astra, operate as a means of

‘enforcing the [340B] statute.’ ” (quoting Astra, 563 U.S. at 118)).5

       McClain rejected this enforcement-preemption theory on the basis that the

340B enforcement mechanisms dealt with price, while the state-law enforcement


5
  S.B. 751’s separate set of civil and criminal penalties, see supra 22, underscore
that the statute is enforcement preempted. See Wisconsin Dep’t of Indus., Lab. &
Hum. Rels. v. Gould Inc., 475 U.S. 282, 286, 288 (1986) (“ ‘[C]onflict is
imminent’ whenever ‘two separate remedies are brought to bear on the same
activity.’ ”) (citation omitted).
                                         54

    Appellate Case: 25-1619   Page: 67    Date Filed: 05/15/2025 Entry ID: 5517164
mechanisms dealt with delivery. 95 F.4th at 1144. As described above, the

purported price/delivery dichotomy is false. See supra 28-33. But regardless, S.B.

751 is still preempted. If S.B. 751 relates to non-pricing “delivery” conditions—

which it does not—then so would the conditions at issue in Novartis and Sanofi.

Those cases reviewed conditions that limited the provision of 340B drugs to a

single contract pharmacy, see Novartis, 102 F.4th at 460; Sanofi, 58 F.4th at 703,

regulating the same activity as S.B. 751, which requires delivery to an unlimited

number of contract pharmacies.

      And in Novartis and Sanofi, HRSA sought to halt manufacturers from

imposing the reasonable condition of limiting covered entities to using a single-

contract-pharmacy by issuing Section 256b(d)(1) enforcement letters under its

carefully prescribed statutory authority. See Novartis, 102 F.4th at 458; Sanofi, 58

F.4th at 701-703 (describing similar “violation letters”). Disputes surrounding

conditions of this nature are thus channeled through the federal 340B statute’s dual

enforcement mechanisms, which Congress designed to be exclusive. See Astra,

563 U.S. at 117. McClain’s contrary holding is incorrect.




                                         55

  Appellate Case: 25-1619    Page: 68     Date Filed: 05/15/2025 Entry ID: 5517164
II.      THE DISTRICT COURT ERRED IN RULING THAT NOVARTIS
         FAILED TO SATISFY THE REMAINING PRELIMINARY
         INJUNCTION FACTORS.

         A.    Novartis Has Established Irreparable Harm.

         Novartis is stuck between a rock and a hard place: comply with S.B. 751 and

incur millions of dollars in irrecoverable, forced discounts or violate Missouri law

and subject itself to significant civil and criminal liability. Novartis suffers

irreparable harm either way.

         Irrecoverable Financial Losses. Unrecoverable monetary loss qualifies as

irreparable harm. Iowa Utilities Bd. v. F.C.C., 109 F.3d 418, 426 (8th Cir. 1996).

And complying with S.B. 751 costs Novartis millions of dollars annually in the

form of lost revenues. App.92(R._Doc._9-1, at 4 ¶ 12). These funds cannot be

recovered should S.B. 751 ultimately be found unconstitutional. The federal 340B

statute’s ADR process—the sole legal process that manufacturers may initiate

under the federal 340B Program—is limited to claims for prohibited drug resales

or duplicative discounts. 42 U.S.C. § 256b(d)(3)(A). Neither this process nor any

state process allows recovery for a 340B discount provided on account of an

unconstitutional state law—thus establishing irreparable harm. General Motors

Corp. v. Harry Brown’s, LLC, 563 F.3d 312, 319 (8th Cir. 2009).

         That irreparable harm compounds as the lost revenue will force Novartis to

forgo research and development for new drugs. Novartis uses the revenues


                                           56

      Appellate Case: 25-1619   Page: 69   Date Filed: 05/15/2025 Entry ID: 5517164
generated from drugs already on the market to fund its research efforts for future

drugs. App.91-92(R._Doc._9-1, at 3-4 ¶¶ 9-11). S.B. 751 disrupts this cycle. It

decreases the funds available for Novartis’s innovative research, creating an

irreparable harm unto itself. App.91-92(R._Doc._9-1, at 4-5 ¶ 14); see also Altana

Pharma AG v. Teva Pharms. USA, Inc., 566 F.3d 999, 1011 (Fed. Cir. 2009) (lost

research opportunities constitutes irreparable harm).

      Civil and Criminal Penalties. If Novartis choses instead to not comply with

S.B. 751, it risks an immediate and unconstitutional state enforcement action with

severe civil and criminal penalties. See Mo. Rev. Stat. § 376.414; id. § 407.020 et

seq. That, too, constitutes irreparable harm. Morales v. Trans World Airlines, Inc.,

504 U.S. 374, 381 (1992). Violations of S.B. 751 are considered unfair, abusive,

or deceptive trade practices under the MMPA, Mo. Rev. Stat. § 376.414; id.

§ 407.020 et seq., which subjects manufacturers to civil suit, punitive damages,

attorneys’ fees, or other “such equitable relief” a court deems necessary, id. at

§ 407.025(1).

      Noncompliance also risks criminal punishment. Id. §§ 376.414(3),

407.020(3-4). Apart from the debilitating effects of felony conviction, the

collateral consequences of a criminal adjudication would irreparably harm

Novartis’s reputation and goodwill with its clients. Medicine Shoppe Intern., Inc.




                                          57

  Appellate Case: 25-1619     Page: 70     Date Filed: 05/15/2025 Entry ID: 5517164
v. S.B.S. Pill Dr., Inc., 336 F.3d 801, 805 (8th Cir. 2003) (“Loss of intangible

assets such as reputation and goodwill can constitute irreparable injury.”).

      The District Court rejected these arguments, ruling that if “S.B. 751 is

constitutional than Plaintiff will not suffer any irreparable harm.”

App.326(R._Doc._78, at 11). But S.B. 751 is not constitutional: It violates both

the Commerce Clause, see supra 28-48, and the Supremacy Clause, supra 48-52.

Novartis has demonstrated irreparable harm, weighing heavily in favor of granting

a preliminary injunction.

      B.     The Balance Of The Equities And Public Interest Favor Granting
             An Injunction.

      The equities also weigh heavily in Novartis’s favor, as Novartis’s likely

harm outweighs any injury to the State from delaying S.B. 751’s enforcement.

Dataphase Sys., Inc., 640 F.2d at 113 (evaluating the balances of harm to parties if

injunction is granted).

      The State would suffer no harm from a preliminary injunction. States have

an interest in enforcing their laws— “[u]nless that statute is unconstitutional.”

Abbott v. Perez, 585 U.S. 579, 602 (2018). Because courts evaluate the relative

harms as if the movant were successful, Chicago, B. & Q. R. Co. v. Chicago Great

W. R. Co., 190 F.2d 361, 363 (8th Cir. 1951) (per curiam) (evaluating the equities

as if “the final determination is in [the movant’s] favor”), Missouri simply has “no

interest” in enforcing an unconstitutional statute, Dakotans for Health v. Noem, 52

                                          58

  Appellate Case: 25-1619     Page: 71     Date Filed: 05/15/2025 Entry ID: 5517164
F.4th 381, 392 (8th Cir. 2022). Finally, a preliminary injunction serves the public

interest by “enjoining the enforcement of the invalid provisions of state law.”

Bank One, Utah v. Guttau, 190 F.3d 844, 848 (8th Cir. 1999).

       Contrary to the District Court’s understanding, injunctive relief would not

impair the public’s access to affordable drugs. App.328(R._Doc._78, at 13).

Under the replenishment model, the 340B discount is split between “[t]he covered

entity, the pharmacy, and the third-party administrator” involved, not passed onto

the patient. Novartis, 102 F.4th at 457-458; see also supra 30-31, 46-47. By and

large, patients have the same access to drugs at the same prices with or without

S.B. 751. App.11(R._Doc._1, at 11 ¶ 35).

                                  CONCLUSION

       For the foregoing reasons, this Court should reverse the District Court’s

denial of Novartis’s motion for a preliminary injunction and order that the District

Court enter the preliminary injunction that Novartis requested.

                                           Respectfully submitted,

                                           /s/ Jessica L. Ellsworth
                                           JESSICA L. ELLSWORTH
                                           HOGAN LOVELLS US LLP
                                           555 Thirteenth Street, N.W.
                                           Washington, DC 20004
                                           (202) 637-5600
                                           jessica.ellsworth@hoganlovells.com

May 15, 2025                               Counsel for Plaintiff-Appellant
\




                                         59

    Appellate Case: 25-1619   Page: 72    Date Filed: 05/15/2025 Entry ID: 5517164
                      CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the type-volume limitation of Fed. R. App. P.

32 and Eighth Circuit Rule 28A because it contains 12,980 words, excluding the

parts of the brief exempted by Fed. R. App. P. 32(f).

      2.     This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionally spaced typeface using Microsoft Office 365 in

Times New Roman 14-point font.

      3.     The electronic version of this brief has been scanned for viruses and

has been found to be virus free.

                                            /s/ Jessica L. Ellsworth
                                            Jessica L. Ellsworth




  Appellate Case: 25-1619    Page: 73    Date Filed: 05/15/2025 Entry ID: 5517164
                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Eighth Circuit by using the

Court’s CM/ECF system on May 15, 2025. All counsel of record are registered

CM/ECF users, and service will be accomplished by the CM/ECF system.



                                            /s/ Jessica L. Ellsworth
                                            Jessica L. Ellsworth




  Appellate Case: 25-1619    Page: 74     Date Filed: 05/15/2025 Entry ID: 5517164
